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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
In re:
                                                                   Chapter 11
       PONDEROSA ENERGY, LLC and                                   Case No. 17-13484-SHL
      GS ENERGY, LLC                                               (Jointly Administered)

                                             Debtors.
------------------------------------------------------------   x

            ORDER AUTHORIZING AND APPROVING SETTLEMENT
     AND SALE AGREEMENT BY AND AMONG THE DEBTORS AND CERTAIN
   SECURED CREDITORS PURSUANT TO SECTION 105 OF THE BANKRUPTCY
    CODE AND BANKRUPTCY RULES 2002 AND 9019; AND AUTHORIZING AND
    APPROVING PRIVATE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
   ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, AND INTERESTS UNDER
     SUCH SETTLEMENT AND PURSUANT TO SECTIONS 105 AND 363 OF THE
        BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004

         Upon the motion dated March 20, 2018 [ECF No. 79] (the “Motion”) of Ponderosa

Energy, LLC and GS Energy, LLC, as debtors and debtors in possession (together, the

“Debtors”) seeking entry of an order authorizing and approving (i) the Settlement and Sale

Agreement by and among the Debtors and certain secured creditors, attached as Exhibit 1 hereto

and incorporated herein by reference (the “Agreement”), and (ii) the private sale of substantially

all of the Debtors’ assets free and clear of all liens, claims, and interests under such Agreement,

pursuant to Sections 105 and 363 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and

9019; and the Court having conducted a hearing (the “Hearing”) on April 11, 2018, and having

determined at the Hearing that (a) entry into the Agreement constitutes the exercise by the

Debtors of sound business judgment, and is in the best interests of the Debtors, their estates and

creditors, and all parties in interest, and (b) the consideration provided by Petroleum Production

Finance, Inc., PPF 2 LLC, and PPF 3 LLC (the “PPF Parties”) and their assigns, including

Borger Resources 2 LLC, a Missouri limited liability company, Borger Resources 3 LLC, a



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Missouri limited liability company, and other such entities as the PPF Parties may designate (the

“PPF Transferees”), pursuant to the Agreement is fair and adequate and will provide a greater

recovery for the Debtors’ estates than would be provided by any other available alternative; and

all parties in interest having been heard or having had the opportunity to be heard regarding the

sale (the “Sale”) of the properties listed in Exhibit A to the Agreement (the “Properties”) to the

PPF Transferees; and the Court having reviewed and considered the Motion, the materials

submitted by the Debtors in support of the Motion, the Agreement, and the arguments of counsel

made and the evidence adduced at the Hearing; and upon the record of the Hearing and this

chapter 11 case (the “Case”), and after due deliberation thereon, and good cause appearing

therefor:

BASED ON THE REPRESENTATIONS OF THE PARTIES, IT IS HEREBY FOUND AND

DETERMINED THAT:1

       A.        The Court has jurisdiction to hear and determine the Motion and to grant the relief

requested in the Motion pursuant to 28 U.S.C. § 157 and 1334(b). This is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2).

       B.        Venue of this Chapter 11 Case and the Motion in this district is proper under 28

U.S.C. § 1408.

       C.        The statutory and legal predicates for the relief requested in the Motion are §§ 105

and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101‒1532 (as amended, the

“Bankruptcy Code”), and Rules 2002, 6004, and 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).




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       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
       findings of fact to the fullest extent of the law. See Fed. R. Bankr. P. 7052.

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       D.      Notice of the Motion and the Hearing has been provided to: (i) the Office of the

United States Trustee for the Southern District of New York; (ii) counsel to the PPF Parties; (iii)

the Internal Revenue Service; (iv) all state and local taxing authorities and recording offices

which have a reasonably known interest in the relief requested; (v) all creditors and other parties

set forth on the Debtors’ Schedules and Creditor Matrix maintained in this case; and (vi) all other

parties required to receive notice of this Motion pursuant to Bankruptcy Rule 2002.

       E.      The notice given by the Debtors of the Motion, the Agreement, the Hearing, and

the Sale constitutes good and sufficient notice of the relief granted by this Order and no further

notice is required. A reasonable opportunity to object or be heard regarding the relief granted by

this Order has been afforded to those parties entitled to notice pursuant to Bankruptcy Rule

6004(a).

       F.      Entry into the Agreement constitutes the exercise by the Debtors of sound

business judgment, and is in the best interests of the Debtors, their estate and creditors, and all

parties in interest. The Debtors have articulated good and sufficient business reasons justifying

entry into the Agreement with the PPF Parties.         The consideration provided by the PPF

Transferees pursuant to the Agreement (i) is fair and adequate, (ii) will provide a greater

recovery for the Debtors’ estates than would be provided by any other available alternative, and

(iii) constitutes reasonably equivalent value and fair consideration (as those terms are defined in

each of the Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, and § 548 of

the Bankruptcy Code) under the Bankruptcy Code and under applicable law. Additionally, the

Agreement is a reasonable compromise and resolution of all of the disputes between the Debtors

and the PPF Parties and of the PPF Parties’ claims against the Debtors, the Properties, and the

Debtors’ estates.



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       G.      The settlement among the Debtors, the PPF Parties, Richard Sands, and Casimir

Capital L.P. embodied in the Agreement and described in the Motion is fair and equitable and is

in the best interests of the Debtors and their estates, because it will allow for the Debtors to

expeditiously maximize the value of their assets, fully and finally resolve all litigation and other

disputes among the parties related to the Case, provide for transfer of the Properties to the PPF

Parties, which is a reasonable compromise of the PPF Parties’ potential claims against the

Debtors’ estates, and potentially provide a means for payment of administrative and other claims

that would otherwise be unavailable to the estates. The Agreement is, therefore, well above the

lowest point in the range of reasonableness required under Bankruptcy Rule 9019.

       H.      The Debtors and the PPF Transferees negotiated, proposed, and entered into the

Agreement without collusion, in good faith, and from arm’s-length bargaining positions. In

accordance with Bankruptcy Rule 9019, and the Court having considered the relevant factors

thereunder and whether the settlement falls within a range of reasonableness, including (1) the

balance between the Litigation’s possibility of success and the settlement’s future benefits; (2)

the likelihood of complex and protracted litigation, with its attendant expense, inconvenience,

and delay, including the difficulty in collecting on the judgment; (3) the paramount interests of

the creditors, including each affected class’s relative benefits and the degree to which creditors

either do not object to or affirmatively support the proposed settlement; (4) whether other parties

in interest support the settlement; (5) the competency and experience of counsel supporting, and

the experience and knowledge of the bankruptcy court judge reviewing, the settlement; (6) the

nature and breadth of releases to be obtained by officers and directors; and (7) the extent to

which the settlement is the product of arm's length bargaining, the Court finds the settlement

reasonable, fair, reached by each party in good faith and as a product of arm’s length bargaining,



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in the interests of the estates and all parties, and should be approved as set forth in the

Agreement.

       I.      The PPF Transferees are not “insiders” or “affiliates” of the Debtors as those

terms are defined in §§ 101(31) and 101(2) of the Bankruptcy Code.

       J.      Neither the Debtors nor the PPF Transferees have engaged in any conduct that

would cause or permit the Agreement to be avoided under § 363(n) of the Bankruptcy Code. As

alleged in more detail in the Agreement, the parties have filed lawsuits against other in state

court in Texas and in an adversary proceeding in this Court, and have denied each other’s claims

and asserted counterclaims and defenses. The PPF Transferees have proceeded in good faith in

all respects in that: (i) the Agreement was negotiated and entered into in good faith, based upon

arm’s length negotiations between them and the Debtors, and without collusion; (ii) the PPF

Transferees have not violated section 363(n) of the Bankruptcy Code by any action or inaction;

and (iii) the negotiation and execution of the Agreement and any other agreements or instruments

related thereto were in good faith. The PPF Transferees are buyers in good faith, as that term is

used in the Bankruptcy Code, and are entitled to the protections of Bankruptcy Code sections

363(m) and 363(n) with respect to the Properties.

       K.      The PPF Transferees have not violated Section 363(n) of the Bankruptcy Code by

any action or inaction or engaged in any conduct that would cause or permit the Agreement or

the Sale to be avoided pursuant thereto. Specifically, the PPF Transferees have not acted in a

collusive manner with any person and the consideration was not controlled by any agreement

among bidders.

       L.      The Debtors have demonstrated compelling circumstances for the Sale outside:

(i) the ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code; and (ii) a



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plan of reorganization or liquidation, pursuant to section 1129 of the Bankruptcy Code, in that,

among other things, the immediate consummation of the Sale to the PPF Transferees is necessary

and appropriate to realize the value of the Debtors’ estates and the Sale and the Agreement

related thereto will provide the only means for the Debtors to maximize distributions to the

Debtors’ creditors. Time is of the essence in consummating the Sale and the Agreement.

       M.      The PPF Transferees are not mere continuations of the Debtors or their estates,

and there is no continuity of enterprise between the PPF Transferees and the Debtors. The PPF

Transferees are not successors to the Debtors or their estates and the Sale does not amount to a

consolidation, merger, or de facto merger of the PPF Transferees and the Debtors. The PPF

Transferees will not have any successor or transferee liability for liabilities of the Debtors or any

affiliate of the Debtors or any other settling party (whether under federal or state law or

otherwise) as a result of the sale of the Properties.

       N.      The consummation of the Sale of the Properties to the PPF Transferees is legal,

valid, and properly authorized under all applicable provisions of the Bankruptcy Code, including,

without limitation, sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, and all of the

applicable requirements of such sections have been complied with in respect of the Sale. In

particular, the Debtors may sell the Properties free and clear of all liens, claims, or encumbrances

of any kind or nature whatsoever because, in each case, one or more of the standards set forth in

section 363(f)(l)-(5) of the Bankruptcy Code have been satisfied. Any party with an interest in

the Properties who did not object, or who withdrew its objection, to the Sale is deemed to have

consented pursuant to section 363(f)(2) of the Bankruptcy Code. Any party with a lien, claim, or

other interest in the Properties who did object falls within one or more of the other subsections of

section 363(f) of the Bankruptcy Code and is adequately protected by having its lien, claim, or



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other interest, if any, attach to the net cash proceeds of the Sale ultimately attributable to the

respective Property against or in which such liens or other interests are asserted with the same

validity, enforceability, priority, and force and effect as they had against the Property or its

proceeds as of the Petition Date.

           O.   Pursuant to sections 105(a) and 363 of the Bankruptcy Code and effective as of

the closing of the sale and/or assignment of the Properties to the PPF Transferees (the

“Closing”), all Persons (as defined in section 101(41) of the Bankruptcy Code) are hereby

enjoined from taking any action against the PPF Transferees or their affiliates (as they exist

immediately prior to Closing) to recover or enforce any interests that such Person(s) may have

against the Properties.

           P.   Pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal shall not affect the validity or the transfer of the Properties to the PPF

Transferees, unless the same is stayed pending appeal prior to the Closing and consummation of

the Sale of the Properties as authorized by this Order.

           Q.   The Sale does not constitute a sub rosa chapter 11 plan. The Sale neither

impermissibly restructures the rights of the Debtors’ creditors nor impermissibly dictates a

liquidating plan of reorganization for the Debtors.

           R.   The PPF Parties allege that the Sale does not involve any executory contracts

because the oil and gas leases, assignments and volumetric production payments are all real

property interests under Texas law. To the extent the mineral interests transferred pursuant to the

Sale are deemed executory contracts, they are expressly assumed by and assigned to the PPF

Parties.




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       S.      Debtors informed the Court at the Hearing that they are not going to have enough

cash at closing to satisfy their tax payment obligation to the PPF Parties set forth in Paragraph

5(c) of the Agreement (which requires a minimum payment from cash on hand of $76,468.60).

The Debtors agree that the PPF Parties may offset and deduct $76,468.60 (the amount set forth in

Exhibit F of the Agreement) from the consideration amount set forth in Paragraph 5(a) of the

Agreement, resulting in a final Settlement Payment amount of $398,531.40.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       1.      Any objections to the Motion, as they pertain to the entry of this Order, are

overruled to the extent they have not been withdrawn, waived or otherwise resolved.

       2.      The Debtors are hereby authorized to take any and all actions necessary to

consummate the transactions contemplated by the Agreement (including any ancillary

documents), a copy of which is attached hereto as Exhibit 1, and this Order.

       3.      Closing of the Sale shall take place, pursuant to the Agreement, immediately after

the expiration of the fourteen day appeal period following entry of this Order, or sooner if the

parties to the Agreement so desire. Upon Closing, in full and final settlement, satisfaction and

discharge of any and all claims of the Debtors against the PPF Parties related to the VPP

Transactions or the Properties, the PPF Parties shall pay THREE HUNDRED NINETY EIGHT

THOUSAND, FIVE HUNDRED AND THIRTY ONE and 40/100 DOLLARS ($ 398,531.40)

(the “Settlement Payment”), directly to the Debtors, in cash, by wire transfer of immediately

available funds on the date of the Closing, as set forth in the Agreement. If, for any reason, the

PPF Parties fail to pay the Settlement Payment to the Debtors upon the Closing of the

Settlement, then the releases provided by GS Energy, LLC; Ponderosa Energy, LLC; Richard F.




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Sands; and Casimir Capital L.P. (the “Ponderosa Parties”) in the Agreement shall be null and

void and shall be of no force and effect.

       4.      Immediately upon expiration of the fourteen day appeal period following entry of

this Order, the Debtors and the PPF Parties shall promptly take any and all action necessary to

dismiss the lawsuit in the 160th Judicial District Court of Dallas County, Texas, Cause No. DC-

17-04608 (“Dallas Lawsuit”), the lawsuit in the 84th Judicial District Court of Hutchinson

County, Texas, Cause No. 42908 (“Hutchinson Lawsuit”), and the adversary proceeding in this

Court, Adversary No. 17-01239-SHL (the “Adversary Proceeding”) (collectively, the

“Litigation”), with prejudice.

       5.      The terms of this Order shall be binding on and inure to the benefit of the

Debtors, the PPF Transferees, all creditors and all other parties-in-interest, and any assigns or

successors of such parties.

       6.      Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

of this Order shall be immediately effective and enforceable upon its entry and not subject to any

stay, notwithstanding the possible applicability of Bankruptcy Rules 6004(h) or otherwise.

       7.      To the extent that this Order is inconsistent with the Agreement, the terms of this

Order shall govern.

       8.      The failure to include specifically any particular provision of the Agreement in

this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court that the Agreement be authorized and approved in its entirety.

       9.      As and when requested by any party, each party shall execute and deliver, or

cause to be executed and delivered, all such documents and instruments, and shall take, or cause




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to be taken, all such further and other actions as such other party may reasonably deem necessary

or desirable to consummate the Sale and the Agreement.

       10.     The Ponderosa Parties and the PPF Parties are each hereby authorized and

directed to perform in accordance with the terms of the Agreement.

       11.     Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the

Debtors are authorized and directed to sell and transfer all of the Debtors’ right, title and interest

in and to the Properties to the PPF Transferees in accordance with the Agreement (including any

ancillary documents), and such sale and transfer shall (a) constitute a legal, valid, binding, and

effective transfers of the Properties, (b) upon the Debtors’ receipt of the respective purchase

prices, vest the PPF Transferees with all right, title, and interest of the Debtors to the Properties,

free and clear of all liens, claims, and other interests in and on the Properties pursuant to § 363(f)

of the Bankruptcy Code, and (c) constitute transfers for reasonably equivalent value and fair

consideration under the Bankruptcy Code and the laws of the state(s) in which PPF Transferees

are incorporated and any other applicable non-bankruptcy laws.

       12.     Except as otherwise provided in the Agreement, all persons holding liens or

claims of any kind or nature whatsoever against the Debtors or the Properties shall be and hereby

forever are barred, estopped, and permanently enjoined from asserting, prosecuting,

commencing, continuing, or otherwise pursuing in any manner any action, claim, or other

proceeding of any kind, directly or indirectly, against the PPF Transferees, any affiliates of the

PPF Transferees (as they existed immediately prior to the Closing of the Sale) or the Properties,

including any action, claim, or other proceeding seeking to prevent or interfere with the

consummation of the Sale, with the retrieval by the PPF Transferees or the delivery to the PPF

Transferees of possession of the Properties by the PPF Transferees. Following the applicable



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Closing dates, no holder of a lien, claim or other interest in or against the Debtors or the

Properties shall interfere with the PPF Transferees’ title to or use and enjoyment of the

Properties based on or related to such lien, claim, or other interest.

        13.     Pursuant to sections 105(a) and 363 of the Bankruptcy Code and effective as of

the Closing of the Sale and/or assignment of the Properties to the PPF Transferees, all Persons

(as defined in section 101(41) of the Bankruptcy Code) are hereby enjoined from taking any

action against the PPF Transferees or their affiliates (as they exist immediately prior to Closing)

to recover or enforce any interests that such Person(s) may have against the Properties.

        14.     Pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal shall not affect the validity or the transfer of the Properties to the PPF

Transferees, unless the same is stayed pending appeal prior to the Closing and consummation of

the Sale of the Properties as authorized by this Order.

        15.     Obligations of the Debtors relating to taxes, whether arising under law, by the

Agreement, or otherwise, shall be fulfilled by the party responsible for such obligations under the

Agreement.

        16.     The PPF Transferees shall not have any successor or transferee liability for

liabilities of the Debtors or any affiliate of the Debtors (whether under law or otherwise) as a

result of the sale of the Properties.

        17.     Sale Free and Clear. The sale of the Properties shall be free and clear of all liens,

claims, encumbrances and other interests, with all such liens, claims, encumbrances or other

interests in or on the Properties to attach to the net cash proceeds of the Sale ultimately

attributable to the Property against or in which such liens or other interests are asserted, subject

to the terms of such liens or other interests, with the same validity, enforceability, priority, and



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force and effect as they had against the Property or its proceeds as of the Petition Date, subject to

any rights, claims and defenses any parties-in-interest may possess with respect thereto.

       18.     No broker or party has a claim to any commission, broker’s fee, finder’s fee, or

similar fee as a result of having negotiated the Agreement for, or on behalf of, the Debtors or the

PPF Transferees.

       19.     A certified copy of this Order may be filed with the appropriate clerk and/or

recorded with the recorder of any state, county, or local authority to act to cancel any of the liens

or claims of record.

       20.     This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding any provision in the Bankruptcy Code or the Bankruptcy Rules to the contrary,

the Court expressly finds there is no reason for delay in the implementation of this Order and,

accordingly: (i) the terms of this Order shall be immediately effective and enforceable upon its

entry; (ii) the Debtors are not subject to any stay in the implementation, enforcement or

realization of the relief granted in this Order; and (iii) the Debtors may, in their discretion and

without further delay, take any action and perform any act authorized under this Order.

       21.     The provisions of this Order are non-severable and mutually dependent.

       22.     Third parties, including recording and title agencies, shall recognize the transfers

pursuant to this Order and shall not interfere with the transactions set forth herein.

       23.     The Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this Order, the Agreement, all amendments thereto, and

any waivers and consents thereunder, and each ancillary document executed in connection

therewith to which the Debtors are a party, and to adjudicate, if necessary, any and all disputes

concerning or relating in any way to the Sale, including, but not limited to, retaining jurisdiction



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to (a) compel delivery of the Properties to the PPF Transferees, (b) interpret, implement, and

enforce the provisions of this Order, and (c) protect the PPF Transferees against any liens or

claims in or against the Debtors or the Properties of any kind or nature whatsoever; provided,

however, that in the event the Court abstains from exercising or declines to exercise jurisdiction

or is without jurisdiction, such abstention, refusal or lack of jurisdiction shall have no effect upon

and shall not control, prohibit or limit the exercise of jurisdiction of any other court having

competent jurisdiction with respect to any such matter.

       24.     In accordance with Bankruptcy Rule 9019, and the Court having considered the

relevant factors thereunder, the Agreement and the terms and conditions set forth therein and in

this Order are reasonable, fair, in the interests of the estates and all parties, and fall within the

range of reasonableness, and hereby are approved.

       25.     Solely as to the PPF Parties and the PPF Related Parties, the claims objection

deadline is hereby extended to 15 days after the entry of this Order.

Dated: April 18, 2018

                                               /s/ Sean H. Lane
                                               UNITED STATES BANKRUPTCY JUDGE




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
In re:
                                                                   Chapter 11
      PONDEROSA ENERGY, LLC and                                    Case No. 17-13484-SHL
      GS ENERGY, LLC                                               (Jointly Administered)

                                             Debtors.
------------------------------------------------------------   x


        SETTLEMENT AND SALE AGREEMENT AND RELEASE OF LIABILITY

       This Settlement and Sale Agreement and Release of Liability is made and entered into on
March 16, 2018 (“Effective Date”), by and between Petroleum Production Finance, Inc.; PPF 2
LLC; PPF 3 LLC; GS Energy, LLC (“GS Energy”); Ponderosa Energy, LLC (“Ponderosa
Energy” together with GS Energy, the “Debtors”); Richard F. Sands (“Sands”); and Casimir
Capital L.P. (“Casimir”).

        WHEREAS, PPF, PPF2, and PPF3 commenced an action against GS Energy, Ponderosa
Energy, Sands and Casimir in the 160th Judicial District Court of Dallas County, Texas, Cause
No. DC-17-04608 (“Dallas Lawsuit”), alleging, among other things, that said defendants
breached certain contracts related to volumetric production payment transactions in which
plaintiffs purchased barrels of oil from defendants to be delivered over a period of time;

       WHEREAS, GS Energy and Ponderosa Energy also commenced an action against
Petroleum Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, and John Holden, Substitute
Trustee, in the 84th Judicial District Court of Hutchinson County, Texas, Cause No. 42908
(“Hutchinson Lawsuit”), alleging, among other things, that said defendants made usurious
demands for payment relating to the volumetric production payment transactions at issue;

       WHEREAS, GS Energy and Ponderosa Energy each filed voluntary petitions for relief
under Chapter 11 of the U.S. Bankruptcy Code in the Bankruptcy Court for the Southern District
of New York (the “Bankruptcy Court”), Case No. 17-13484-SHL (Jointly Administered) (the
“Bankruptcy Case”) on December 5, 2017;

       WHEREAS, GS Energy and Ponderosa Energy commenced an adversary proceeding
against Petroleum Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, Davis Brothers Financial
Group, Inc., Davis Martin, Robert Tresslar, Peter Tresslar, John Lane, James Lanshe,
Oppenheimer Resources SICAV-SIF, and Selectra Management Company, S.A. in the
Bankruptcy Court, Adversary No. 17-01239-SHL (the “Adversary Proceeding”), alleging,
among other things, that said adversary defendants committed fraud, usury, and breaches of
contract relating to the volumetric production payment transactions at issue;

        WHEREAS, the Parties deny liability, but wish to avoid protracted litigation to resolve
their differences and desire to fully and permanently settle, discharge, and release any and all



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claims they have or may have had against each other arising out of or in connection with the
Dallas Lawsuit, the Hutchinson Lawsuit, and any additional claims that may have arisen before
or after these lawsuits were filed;

        WHEREAS, the Parties believe that settlement by way of this Agreement is in the
Parties’ best interests;

       WHEREFORE, in consideration of the promises, representations, and warranties
contained in this Agreement, the Parties agree as follows:

1.     Bankruptcy Court Approval - It is understood and expressly agreed that this
       Agreement is subject to approval by the Bankruptcy Court. Upon execution of this
       Agreement, Debtors shall file a motion pursuant to Bankruptcy Rule 9019 seeking
       approval of the Agreement (the “Approval Motion”) and take all steps that are reasonably
       necessary to seek a hearing on the Approval Motion and entry of an order by the
       Bankruptcy Court approving this Agreement (the “Approval Order”). The Approval
       Motion and Approval Order shall be in form and substance satisfactory to the Parties. It is
       expressly agreed that nothing in this Agreement shall be with any force or effect if and
       until the Bankruptcy Court issues an order, substantially in the form and content attached
       hereto as Exhibit G approving of this Agreement, and such approval is final and non-
       appealable.

2.     Definitions

       a.      “Agreement” shall mean this Settlement and Sale Agreement and Release of
               Liability.

       b.      “PPF Parties” shall mean Petroleum Production Finance, Inc., PPF 2 LLC, and
               PPF 3 LLC.

       c.      “PPF Related Parties” shall mean the PPF Parties, Davis Brothers Financial
               Group, Inc., Davis Martin, Robert Tresslar, Peter Tresslar, John Lane, James
               Lanshe, Oppenheimer Resources SICAV-SIF, and Selectra Management
               Company, S.A., and their predecessors, successors, assigns and past, present and
               future parent corporations, subsidiaries, affiliates, holding companies, divisions,
               unincorporated business units, joint venturers, partners, insurers, officers,
               directors, shareholders, managers, employees, agents, servants, representatives,
               officials, attorneys (including but not limited to Scott Sherwood, John Holden,
               Jordan Smith, Brian Kilpatrick and Jackson Walker L.L.P.), associates and
               trustees.

       d.      “Ponderosa Parties” shall mean GS Energy, LLC; Ponderosa Energy, LLC;
               Richard F. Sands; and Casimir Capital L.P.

       e.      “Ponderosa Related Parties” shall mean the Ponderosa Parties, and their
               predecessors, successors, assigns, heirs, and past, present and future parent
               corporations, subsidiaries, affiliates, holding companies, divisions, unincorporated
               business units, joint venturers, partners, insurers, officers, directors, shareholders,



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               managers, employees, agents, servants, representatives, officials, attorneys
               (including but not limited to Jeffrey R. Fine, Mark Andrews, Dykema Cox Smith,
               and Diamond McCarthy LLP), associates and trustees.

      f.       “Parties” shall mean the PPF Parties and the Ponderosa Parties.

      g.       “Lawsuit” shall mean the Dallas Lawsuit, the Hutchinson Lawsuit, and the
               Adversary Proceeding.

      h.       “Properties” shall mean the leases and wells listed as “Included” in Exhibit A
               attached hereto, including the Included Leases In Carson County, Texas; the
               Included Wells In Carson County, Texas; the Included Leases In Gray County,
               Texas; the Included Wells In Gray County, Texas; the Included Leases In Moore
               County, Texas; the Included Wells In Moore County, Texas; the Included Leases
               In Hutchinson County, Texas; the Included Wells In Hutchinson County, Texas;
               and all equipment owned by the Ponderosa Parties used therein, thereon or in
               conjunction therewith as well as all minerals, easements and specifically rights-
               of-way owned by the Ponderosa Parties related thereto, as more fully described in
               Exhibit A. “Properties” does not mean and specifically excludes the leases and
               wells listed as “Excluded” in Exhibit B attached hereto, including the Excluded
               Leases In Carson County, Texas; the Excluded Wells In Carson County, Texas;
               the Excluded Leases In Gray County, Texas; the Excluded Wells In Gray County,
               Texas; the Excluded Leases In Moore County, Texas; the Excluded Wells In
               Moore County, Texas; the Excluded Leases In Hutchinson County, Texas; and the
               Excluded Wells In Hutchinson County, Texas (collectively, the “Excluded Leases
               and Wells”).

      i.       “Molori” shall mean Molori Energy Inc., formerly known as Taipan Resources,
               Inc., and shall include its agents, representatives, counsel, consultants, experts,
               investigators, employees, servants or assigns or any other entity acting on its
               behalf, past or present, but only in their capacity as such.

      j.       “VPP1 Transaction” shall mean the first VPP transaction, in which PPF2
               acquired oil from Ponderosa Energy’s interests in mineral leases and wells in
               Hutchinson, Gray and Carson Counties, Texas, as listed in Exhibit A to the
               Conveyance of Term Overriding Royalty Interest (“Ponderosa Conveyance”),
               Production and Delivery Agreement (“Ponderosa PDA”), and Deeds of Trust,
               Mortgage, Assignment, Security Agreement and Financing Statement
               (“Ponderosa Deeds of Trust”).

      k.       “VPP2 Transaction” shall mean the second VPP transaction, in which PPF3
               acquired oil from GS Energy’s interests in mineral leases and wells in Carson,
               Moore and Hutchinson Counties, Texas, as listed in Exhibit A to the Conveyance
               of Term Overriding Royalty Interest (“GS Conveyance”), Production and
               Delivery Agreement (“GS PDA”), and Deeds of Trust, Mortgage, Assignment,
               Security Agreement and Financing Statement (“GS Deeds of Trust”).




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      l.       “VPP Transactions” shall mean the VPP1 Transaction and VPP2 Transaction
               described below.

      m.       “VPP Agreements” shall mean all of the documents executed between or by the
               Parties related to or constituting the VPP Transactions.

      n.       “Claims” shall mean claims, counterclaims, demands, actions, causes of action,
               debts, liabilities, damages, costs, fees, expenses, rights, duties, obligations, liens,
               petitions, lawsuits, losses, controversies, executions, offsets and sums, of any kind
               or nature, whether direct or indirect, liquidated or unliquidated, contingent or
               actual, in law or equity, known or unknown, suspected or unsuspected, or of
               whatever type or nature:

                  1. that the PPF Parties asserted, or could have asserted, against the Ponderosa
                     Related Parties in the Lawsuit;

                  2. that the Ponderosa Parties asserted, or could have asserted, against the PPF
                     Related Parties in the Lawsuit;

                  3. related in any way to the VPP Transactions between the Parties;

                  4. related in any way to hedging transactions relating to the VPP
                     Transactions between the Parties;

                  5. related in any way to rebates (or rebate letters) associated with the VPP
                     Transactions;

                  6. related to any other conduct of the PPF Parties that was or could have been
                     alleged to have violated any duties owed by the PPF Parties or the PPF
                     Related Parties to the Ponderosa Parties or the Ponderosa Related Parties;
                     or

                  7. related to any other conduct of the Ponderosa Parties that was or could
                     have been alleged to have violated any duties owed by the Ponderosa
                     Parties or the Ponderosa Related Persons to the PPF Parties or the PPF
                     Related Parties.

               All obligations of the Parties under this Agreement are excluded from Claims and
               shall survive execution of this Agreement.

3.    VPP Transactions

      a.       The Lawsuit concerns the VPP Transactions: (1) a transaction in which PPF2
               provided Ponderosa Energy with an advance payment for the purchase of oil to be
               repaid by Ponderosa Energy over a 42 month period; and (2) a transaction in
               which PPF3 provided GS Energy with an advance payment for the purchase of oil
               to be repaid by GS Energy over a 42 month period. Both of these transactions
               were negotiated and closed in the second half of 2016.



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      b.       As further security for the VPP Transactions, Ponderosa Energy and GS Energy
               granted mortgages/liens/security interests to PPF2 and PPF3 pursuant to the
               Ponderosa Deeds of Trust and GS Deeds of Trust (collectively, the “Deeds of
               Trust”). By these Deeds of Trust, certain of the PPF Parties, as Trustees, were
               granted a power of sale with respect to all of the Grantors’ interests in and to the
               oil, gas and other mineral leases and associated wells which were described in
               Exhibit A to each of the Deeds of Trust.

      c.       Ponderosa Energy and GS Energy desire to convey the record and beneficial fee
               simple indefeasible title to the Properties to PPF2 and PPF3 or their designee(s) in
               full and complete satisfaction of their obligations to PPF2 and PPF3 under the
               VPP Agreements, subject to the terms and conditions set forth herein. Such
               conveyance shall be by deeds of the Properties.

4.    Lawsuit

      a.       Dallas Lawsuit: The PPF Parties filed the Dallas Lawsuit against the Ponderosa
               Parties alleging breach of contract, conspiracy, common law fraud and fraudulent
               inducement, fraud by nondisclosure, conspiracy to defraud, negligent
               misrepresentation, conversion, vicarious liability, joint enterprise liability, joint
               and several liability, money had and received, and unjust enrichment, and sought
               actual damages, exemplary damages, attorneys’ fees, an accounting, and
               injunctive relief (“PPF Claims”).

      b.       Hutchinson Lawsuit: GS Energy and Ponderosa Energy filed the Hutchinson
               lawsuit against the PPF Parties (and John Holden, Substitute Trustee) alleging
               wrongful acceleration and usury, and sought actual damages, exemplary damages,
               attorneys’ fees, and injunctive relief (“Ponderosa Claims”).

      c.       Adversary Proceeding: GS Energy and Ponderosa Energy filed the Adversary
               Proceeding against the PPF Parties (and Davis Brothers Financial Group, Inc.,
               Davis Martin, Robert Tresslar, Peter Tresslar, John Lane, James Lanshe,
               Oppenheimer Resources SICAV-SIF, and Selectra Management Company),
               alleging usury, breaches of contract, fraud in the inducement, unjust enrichment,
               promissory estoppel, constructive fraudulent transfer, and sought declaratory
               judgments, actual damages, treble damages, and costs and attorney’s fees
               (“Adversary Claims”).

5.    Consideration

      a.       Funds: In consideration for this settlement, the PPF Parties shall pay, in cash, to
               the estates for the Debtors, FOUR HUNDRED SEVENTY-FIVE THOUSAND
               and 00/100 DOLLARS ($ 475,000.00), by wire transfer of immediately available
               funds, immediately upon the expiration of fourteen days from the entry of a final
               non-appealable order of the Bankruptcy Court approving this Agreement (or, if
               the fourteen day period is waived by the Bankruptcy Court, within three business
               days after the entry of a final non-appealable order of the Bankruptcy Court



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               approving this Agreement), pursuant to wire instructions attached hereto as
               Exhibit E.

      b.       Deeds: In consideration for this settlement and contemporaneously with the
               execution of this Agreement, GS Energy and Ponderosa Energy shall execute
               deeds, in recordable form, conveying all of the Properties to the PPF Parties’
               designees, Borger Resources 2 LLC, and Borger Resources 3 LLC, Missouri
               limited liability companies. The form for the Ponderosa Energy deed is attached
               hereto as Exhibit C. The form for the GS Energy deed is attached hereto as
               Exhibit D. A separate deed will be executed and recorded in each of the counties
               in which the Properties are located (with Exhibits setting forth the Included
               Leases, Included Wells, Excluded Leases and Excluded Wells). The PPF Parties
               reserve all rights under Section 51.006 of the Texas Property Code. The PPF
               Parties shall be solely responsible for recording the deeds and paying all state and
               local transfer fees and deed recording fees required to be paid in connection with
               the filing of the deeds. GS Energy and Ponderosa Energy represent and warrant
               that they own legal and equitable, indefeasible fee simple title to their respective
               owned interests in the Properties, and they are conveying the entirety of their
               interests in the Properties to the PPF Parties of their designees “free and clear” of
               any interest in such property of an entity, pursuant to section 363(f) of the
               Bankruptcy Code, including without limitation their working interest (“WI”)
               percentages and net revenue interest (“NRI”) percentages in amounts equal to the
               amounts set forth in Exhibit A (but if their actual working interest percentage and
               net revenue interest percentage is higher than set forth in Exhibit A, they are
               conveying the entirety of their interest). The effective date for such deeds occurs
               upon entry of the Approval Order becoming final and non-appealable, and the
               PPF Parties agree that the Ponderosa Parties may retain proceeds from all gas
               production on the Properties prior to entry of the Approval Order.

      c.       Cash in Bank Accounts: In consideration for this settlement, the Debtors agree
               that promptly upon entry of an order by the Bankruptcy Court approving this
               Agreement, the Debtors will transfer to the PPF Parties all cash in each Debtors’
               bank account with Signature Bank (located at 565 Fifth Avenue, 12th Floor, New
               York, NY 10017), namely, redacted account number ****5896, which is
               maintained by Ponderosa Energy, and redacted account number ****1744, which
               is maintained by GS Energy. Debtors represent and warrant that the cash in the
               account will be in an amount equal to or greater than the amount of outstanding
               ad valorem taxes due for the Properties being conveyed to the PPF Parties
               pursuant to this Agreement, as set forth in Exhibit F attached hereto.

      d.       Taxes: In consideration for this settlement, the PPF Parties agree that the PPF
               Parties will be responsible for payment of all unpaid ad valorem taxes assessed on
               the Properties, whether assessed and/or due and payable before or after the
               Effective Date of this Agreement. Attached hereto as Exhibit F is a chart
               summarizing ad valorem taxes due on the Properties and for which the PPF
               Parties shall be responsible pursuant to this provision.




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      e.       Operations Pending Closing: Debtors will continue to operate the Properties
               within the budget set forth in the Interim Cash Collateral Order (ECF No. 60)
               dated January 19, 2018, pending entry of the Approval Order.

      f.       Prior VPP Agreements: In order to provide protection to the PPF Parties in the
               event this settlement is unwound for any reason in the future, the Parties agree
               that the VPP Agreements shall remain in full force and effect and shall survive the
               execution of this Agreement with respect to the Properties; provided, however,
               that the PPF Parties or their designee(s) to whom the Properties are conveyed
               shall become assignees of GS Energy and Ponderosa Energy’s rights and
               responsibilities under the VPP Agreements with respect to the Properties, as more
               fully set forth in the deeds. Notwithstanding anything in this Agreement to the
               contrary, the PPF Parties hereby release the Excluded Leases and Wells from any
               and all liens and deeds of trust held and/or controlled by the PPF Parties with
               respect to the Excluded Leases and Wells, and the VPP Agreements are hereby
               amended to exclude the Excluded Leases and Wells.

      g.       Notice to All Known Creditors: Debtors represent and warrant that they will
               provide notice of the Motion to all known creditors and parties in interest
               including holders of alleged liens.

      h.       Molori: On November 2, 2017, Johannes (Theo) Van Der Linde, Chief Financial
               Officer of Molori Energy, Inc. f/k/a Taipan Resources, Inc., signed an Affidavit
               confirming that neither Molori nor any assignee of Molori owned any interest in
               any of the Properties as of that date. The Ponderosa Parties understand, represent
               and acknowledge that Johannes (Theo) Van Der Linde signed the Affidavit in his
               capacity as Chief Financial Officer of Molori.

      i.       State A-B Leases: The PPF Parties have asserted claims of fraud relating to
               certain state leases in the Dallas Lawsuit. In consideration for this settlement, the
               PPF Parties disclaim all interest, ownership rights and/or any claims to the leases
               owned by Ponderosa-State Energy, LLC, a Delaware limited liability company,
               including without limitation those commonly referred to as the Ponderosa-State
               A-B leases.

      j.       Rebates: The Debtors have asserted certain claims of fraud relating to rebates
               allegedly due in the Adversary Proceeding. In consideration for this settlement,
               the Ponderosa Parties disclaim all interest, ownership rights and/or any claims to
               rebates under the VPP Transactions, as alleged in the Adversary Proceeding,
               including, without limitation, the right to any interest in any hedging transactions
               created by or for the PPF Parties, and understand and agree that they are releasing
               all rights to any such claims by granting the release contained herein.

      k.       No Covenant Not to Compete: Debtors agree that after entry of a final non-
               appealable order of the Bankruptcy Court approving this Agreement, Debtors will
               not enforce any non-compete agreements that they may have entered with Phillip
               Gunn against Phillip Gunn or any of the PPF Related Parties.



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6.    Mutual Releases

      a.       Release By PPF Parties: For and in consideration of the promises and covenants
               contained in this Agreement and for other good and valuable consideration, the
               receipt and adequacy of which are hereby acknowledged, the PPF Parties,
               together with all those claiming by, through or under them, hereby fully and
               forever release, acquit and discharge the Ponderosa Related Parties of and from
               the Claims. The PPF Parties also fully release and disclaim any and all liens,
               mortgages or other rights with respect to the Excluded Leases and Wells, none of
               which are being conveyed by the Ponderosa Parties and all of which shall remain
               property of the Ponderosa Parties. The PPF Parties covenant and agree that,
               except for any remedies related to a breach of the warranty of title to the
               Properties conveyed in the deeds or a breach of this Agreement, each of the PPF
               Parties will seek no remedies against any of the Ponderosa Related Parties with
               respect to the Properties or the transactions contemplated by this Agreement.

      b.       Release By Ponderosa Parties: For and in consideration of the promises and
               covenants contained in this Agreement and for other good and valuable
               consideration, the receipt and adequacy of which are hereby acknowledged, the
               Ponderosa Parties, together with all those claiming by, through or under them,
               hereby fully and forever release, acquit and discharge the PPF Parties and the PPF
               Related Parties of and from the Claims, and covenant not to sue the PPF Parties or
               the PPF Related Parties for the Claims being released herein.

7.    Dismissal of Lawsuit

      a.       Immediately upon the expiration of fourteen days from the entry of a final non-
               appealable order of the Bankruptcy Court approving this Agreement (or, if the
               fourteen day period is waived by the Bankruptcy Court, within three business
               days after the entry of a final non-appealable order of the Bankruptcy Court
               approving this Agreement), the Parties shall file agreed motions to dismiss with
               prejudice in the Dallas Lawsuit, the Hutchinson Lawsuit, and the Adversary
               Proceeding, asking those courts to dismiss the lawsuits with prejudice, using the
               appropriate form attached hereto as Exhibit H.

      b.       Each Party shall bear its respective costs and attorneys’ fees.

8.    Enforcement of Possession

      a.       Surrender of Properties. The Ponderosa Parties shall immediately surrender
               possession of the Properties to the PPF Parties or their designee(s), and shall
               vacate the Properties after which the PPF Parties or their designee(s) shall have
               the unqualified right to enforce their right of possession.

      b.       Waiver: The Ponderosa Parties hereby knowingly and irrevocably waive any and
               all defenses they may have to any eviction proceedings related to the
               Properties. The Ponderosa Parties shall execute any other pleadings, transfer




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               orders and/or documents later deemed reasonably necessary in order to facilitate
               entry to the Properties and/or enforcement of this Agreement.

      c.       Operation: After execution of the deeds, the PPF Parties or their designee(s) shall
               assume the obligations of operation of the Properties, shall acquire adequate
               operator bonds (the “PPF Operator Bonds”), and shall transfer all Included Wells
               to the PPF Operator Bonds. After execution of the deeds, the Ponderosa Parties
               agree to execute any other documents deemed reasonably necessary in order to
               facilitate transfer of operation, including without limitation any forms required by
               the Texas Railroad Commission (such as a Producer’s Transportation Authority
               and Certificate of Compliance Form - Form P4).

9.    Representations, Warranties and Covenants - The Parties represent and warrant to
      each other and agree with each other as follows:

      a.       The Parties to this Agreement have received independent legal advice from
               attorneys of their own choosing with respect to the advisability of executing this
               Agreement, and prior to the execution of this Agreement by each Party, the
               Party’s attorneys reviewed this Agreement.

      b.       Except as expressly stated in this Agreement, no Party to this Agreement has
               made any statement or representation to any other Party to this Agreement
               regarding any fact relied upon by such other Party in entering into this
               Agreement, and each Party specifically does not rely upon any statement,
               representation, or promise of the other Party in executing this Agreement, except
               as expressly stated in this Agreement.

      c.       There are no other agreements or understandings between the Parties to this
               Agreement with respect to the subject matter hereof except as stated in this
               Agreement.

      d.       Each Party to this Agreement, together with its attorneys, has made such
               investigation of the facts pertaining to this Agreement, and of all the matters
               pertaining thereto, as it deems necessary.

      e.       The terms of this Agreement, including the recitals, are all contractual, not mere
               recitals, and this Agreement is the result of negotiations between the Parties to
               this Agreement, each of which has participated in the drafting of this Agreement
               through its respective attorneys.

      f.       This Agreement has been carefully read by, the contents hereof are known and
               understood by, and it is signed freely by each person executing this Agreement.

      g.       Each Party to this Agreement has the power and authority to enter into and
               perform this Agreement, and the execution and performance of this Agreement
               has been duly authorized by all requisite corporate or partnership action.




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      h.       Each Party to this Agreement agrees that such Party will not take any action that
               would interfere with the performance of this Agreement by any other Party to this
               Agreement or that would adversely affect any of the rights provided for in this
               Agreement.

      i.       No Party to this Agreement has heretofore assigned or transferred or purported to
               assign or transfer to any person, firm, or corporation whatsoever any of the
               Claims herein released. Each Party hereto agrees to indemnify and hold harmless
               each other Party hereto against any actions, causes of action, debts, dues,
               liabilities, controversies, claims, counterclaims, crossclaims, third-party claims or
               demands based on, arising out of, or in connection with any such transfer or
               assignment or purported transfer or assignment, including all attorneys’ fees and
               costs incurred in connection therewith.

      j.       Each Party represents and warrants to each of the other Parties to this Agreement
               that it has not assigned or in any manner whatsoever conveyed any Claim hereby
               released by it.

      k.       The Parties warrant and represent that no tax advice has been offered or given by
               any party in the course of these negotiations, and the Parties are relying upon the
               advice of their own tax consultant with regard to any tax consequences that may
               arise as a result of the execution of this Agreement.

10.   Ponderosa Parties Representations – Each and every one of the Ponderosa Parties
      represents and warrants that:

      a.       It/he has not assigned or transferred or purported to assign or transfer to any
               person, firm, or corporation whatsoever any interest in any of the Properties, and
               that it/he owns the entirety of the working interest and net revenue interest listed
               therein.

      b.       It/he has not transferred or assigned any interest, working interest or net revenue
               interest in any of the Properties to Molori, that Molori does not presently own any
               interest, working interest or net revenue interest in any of the Properties, and that
               the PPF Parties and the PPF Transferees are relying on the Affidavit referenced in
               paragraph 5(h) above in entering into this settlement.

11.   Survival of Representations, Warranties and Covenants - The representations,
      warranties, and covenants found in this Agreement survive only through execution of the
      deeds described herein, and do not extend beyond execution of such deeds.

12.   Legal Construction - In case any one or more of the provisions contained in this
      Agreement shall for any reason be held to be invalid, illegal, or unenforceable in any
      respect, such invalidity, illegality, or unenforceability shall not affect any other
      provisions thereof and this Agreement shall be construed as if such invalid, illegal, or
      unenforceable provision had never been contained herein to the extent such change does
      not alter the intent of the Agreement. When the words “include” or “including” are used,
      the words, “without limitation” shall be implied.


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13.   No Admissions - It is understood and agreed that this Agreement is the compromise of
      an existing dispute and is not intended to be construed as an admission of liability on the
      part of any party hereto.

14.   Parties Bound - This Agreement shall be binding on and inure to the benefit of the
      Parties hereto and their respective heirs, executors, administrators, legal representatives,
      successors, and assigns except as otherwise expressly provided herein.

15.   Enforcement - In the event of a breach of this Agreement, the prevailing party shall be
      entitled to recover from the non-prevailing party, in addition to whatever remedy is
      awarded, its reasonable and necessary attorneys’ fees and costs.

16.   Law and Venue – This Agreement shall be construed under and in accordance with the
      laws of the State of Texas. The exclusive venue for any suit for enforcement of this
      Agreement or an alleged breach of this Agreement shall be in the Bankruptcy Court for
      the Southern District of New York and the parties consent to re-opening the bankruptcy
      case if necessary for enforcement of this Agreement.

17.   Acknowledgement - The Parties acknowledge that they have read this Agreement,
      understand the effect of this Agreement, and execute this Agreement of their own free
      will and accord for the purposes and considerations set forth.

18.   Multiple Counterparts - This Agreement may be executed in multiple counterparts,
      each of which, when executed, shall constitute but one and the same document.

19.   Jointly Drafted; Construction - It is further understood and expressly agreed that this
      Agreement was drafted jointly by the attorneys for all Parties, and it is expressly agreed
      that neither this Agreement nor any of the documents executed in connection herewith
      shall ever be construed against any party hereto on the basis of who drafted the
      documents.

20.   Notices - All notices, requests, demands, instructions and other communications required
      or permitted to be given hereunder shall be in writing and shall be delivered personally,
      mailed by certified mail, postage prepaid and return receipt requested, as follows:




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       If to the Ponderosa Parties:              If to the PPF Parties:

       Ponderosa Energy LLC and                  Petroleum Production Finance
           GS Energy, LLC                        400 N. St. Paul, Suite 505
       745 Fifth Avenue                          Dallas, Texas 75201
       New York, New York 10151                  Attention: Davis Martin
       Attention: Richard Sands                  Telephone: (214) 468-8606
       Telephone: (917) 208-6368
                                                    with a copy to:
          with a copy to:
                                                 JACKSON WALKER L.L.P.
       DIAMOND McCARTHY LLP                      2323 Ross Avenue, Suite 600
       909 Fannin, Suite 3700                    Dallas, Texas 75201
       Houston, Texas 77010                      Attention: Brian A. Kilpatrick, Esq.
       Attention: Charles Rubio, Esq.            Telephone: (214) 953-6000
       Telephone: (713) 333-5100

      or to such other place within the United States of America as either Party may designate
      as to itself by written notice to the other. All notices given by personal delivery or mail
      shall be effective on the date of actual receipt at the appropriate address. Notice given by
      telecopier shall be effective upon actual receipt if received during recipient’s normal
      business hours or at the beginning of the next business day after receipt if received after
      the recipient’s normal business hours.




                              [SIGNATURE PAGES FOLLOW]




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                                                   EXHIBIT A

                                     INCLUDED LEASES AND WELLS

                                PART 1 – PONDEROSA PROPERTIES

                        INCLUDED LEASES IN CARSON COUNTY, TEXAS

               Lessor                    Lessee       WI%          NRI%             Recording
                                                                                   Information
          Mrs. Belle Kirby             Panhandle     100.00%      75.00%          Vol. 52, Pg. 506
                                        Refining
                                       Company
    Amarillo National Bank, et al,       LERA         36.77%     26.6565%         Vol. 448, Pg. 11
              Trustees
    Amarillo National Bank, et al,       LERA         36.77%     26.6565%         Vol. 448, Pg. 19
              Trustees
          Arleen E. Stone                LERA         36.77%     26.6565%         Vol. 448, Pg. 27
          Arleen E. Stone                LERA         36.77%     26.6565%         Vol. 448, Pg. 32
        Richard S. Coon, Jr.             LERA         36.77%     26.6565%         Vol. 448, Pg. 37
        Richard S. Coon, Jr.             LERA         36.77%     26.6565%         Vol. 448, Pg. 42
      Cathryn Coon Doughtie              LERA         36.77%     26.6565%         Vol. 448, Pg. 47
      Cathryn Coon Doughtie              LERA         36.77%     26.6565%         Vol. 448, Pg. 52
          Billy Whiteside                LERA         36.77%     26.6565%        Vol. 449, Pg. 162
          Billy Whiteside                LERA         36.77%     26.6565%        Vol. 449, Pg. 167
       Nancy Ann Blanchard               LERA         36.77%     26.6565%        Vol. 449, Pg. 172
       Nancy Ann Blanchard               LERA         36.77%     26.6565%        Vol. 449, Pg. 177
      The Boyd Family Trust              LERA         36.77%     26.6565%        Vol. 449, Pg. 182
      The Boyd Family Trust              LERA         36.77%     26.6565%        Vol. 449, Pg. 187
       Herring Bank, Trustee             LERA         36.77%     26.6565%        Vol. 449, Pg. 192
       Herring Bank, Trustee             LERA         36.77%     26.6565%        Vol. 449, Pg. 200
         Michael L. O'Neal               LERA         36.77%     26.6565%        Vol. 450, Pg. 242
         Michael L. O'Neal               LERA         36.77%     26.6565%        Vol. 450, Pg. 247
         Barbara B. Creel                LERA         36.77%     26.6565%        Vol. 450, Pg. 252
         Barbara B. Creel                LERA         36.77%     26.6565%        Vol. 450, Pg. 257
      Dorothea Girault Garrett           LERA         36.77%     26.6565%        Vol. 451, Pg. 110
      Dorothea Girault Garrett           LERA         36.77%     26.6565%        Vol. 451, Pg. 115
     Cal Farley's Boyd Ranch             LERA         36.77%     26.6565%        Vol. 453, Pg. 123
       Richard Ware, II, et al           LERA         36.77%     26.6565%        Vol. 453, Pg. 133
        JASE Family, Ltd.                LERA         36.77%     26.6565%        Vol. 454, Pg. 221
        JASE Family, Ltd.                LERA         36.77%     26.6565%        Vol. 454, Pg. 226
      Thomas D. Lumpkin, II              LERA         36.77%     26.6565%         Vol. 469, Pg. 39
       Suzanne Flinchpaugh               LERA         36.77%     26.6565%         Vol. 469, Pg. 49
     Cynthia Carroll Creswell            LERA         36.77%     26.6565%         Vol. 469, Pg. 44
          Carolyn Carroll                LERA         36.77%     26.6565%         Vol. 469, Pg. 54
        Florence Sullenger               LERA         36.77%     26.6565%        Vol. 484, Pg. 4591




1
  Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 484, Pg. 460. The correct recording information is Vol. 484, Pg. 459, which is being
corrected herein and conveyed.



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                        INCLUDED WELLS IN CARSON COUNTY, TEXAS2

Lease                       RRC#               Well #             API #               WI%                NRI%
Sanford 160                 235967             1                  6532107             36.77%             26.66%
Sanford 160                 267590             1R                 6532126             36.77%             26.66%
Sanford 480                 232482             1                  6532104             36.77%             26.66%
Kirby                       4970               2                  6531021             100.00%            75.00%
Kirby                       4970               1                  6531022             100.00%            75.00%

                            INCLUDED LEASES IN GRAY COUNTY, TEXAS

            Lessor                     Lessee            WI%       NRI%            Recording
                                                                                  Information
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 111, Pg. 619
                                   Petroleum
                                   Company
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 113, Pg. 283
                                   Petroleum
                                   Company
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 109, Pg. 377
                                   Petroleum
                                   Company
W.E. Archer                        Empire Gas           100.00%    75.00%     Vol. 28, Pg. 411
                                   and Fuel
                                   Company
W.E. Archer                        I.E. Duncan          100.00%    75.00%     Vol. 28, Pg. 597
C.S. Barrett & wife, Pearl         Texas                100.00%    81.25%     Vol. 34, Pg. 50
Barrett                            Company
Albert Combs & Phoebe A.           F.W. Dillard         100.00%    75.00%     Vol. 2, Pg. 155
Worley
Inez Carter, et al                 E.J. Dunigan         100.00%    75.00%     Vol. 124, Pg. 310
                                   Jr., et al
Phoebe A. Worley, et al            E.A. Haines, et      100.00%    87.50%     Vol. 2, Pg. 194
                                   al
T.B. Noble, et al                  George B. Ray        100.00%    87.50%     Vol. 44, Pg. 527




2
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit B, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).



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                          INCLUDED WELLS IN GRAY COUNTY, TEXAS3

Lease                   RRC#              Well #            API #                  WI%                   NRI%
CS Barrett              624               1                 17983147               100.00%               81.25%
CS Barrett              624               2                 17983148               100.00%               81.25%
CS Barrett              624               3                 17907748               100.00%               81.25%
CS Barrett              624               4                 17983150               100.00%               81.25%
CS Barrett              624               5                 17983151               100.00%               81.25%
CS Barrett              624               6                 17983152               100.00%               81.25%
CS Barrett              624               7                 17983153               100.00%               81.25%
Foxx                    468               1                 17982388               100.00%               75.00%
Foxx                    468               5                 17982392               100.00%               75.00%
Foxx                    468               6                 17982393               100.00%               75.00%
Foxx                    468               7                 17982394               100.00%               75.00%
Foxx                    468               8                 17982395               100.00%               75.00%
Foxx                    468               10                17932047               100.00%               75.00%
Foxx                    468               11                17932265               100.00%               75.00%
Foxx                    468               12                17932264               100.00%               75.00%
Worley                  296               2W                17900564               100.00%               75.00%
Worley                  296               1                 17981499               100.00%               75.00%
Worley                  296               3                 17981501               100.00%               75.00%
Worley                  296               4                 17981502               100.00%               75.00%
Worley                  296               5                 17981503               100.00%               75.00%
Worley                  296               6                 17981504               100.00%               75.00%
Worley                  296               7                 17981505               100.00%               75.00%
Worley                  296               8                 17981506               100.00%               75.00%
Worley                  296               11                17981507               100.00%               75.00%
Johnson Y1              24963             Y1                17980310               100.00%               75.00%
Archer B                179778            7G                17906532               100.00%               75.00%
Archer B&C              224               B1                17981185               100.00%               75.00%
Archer B&C              224               B2                17981186               100.00%               75.00%
Archer B&C              224               B3                17981187               100.00%               75.00%
Archer B&C              224               B4                17981188               100.00%               75.00%
Archer B&C              224               B5                17981189               100.00%               75.00%
Archer B&C              224               B8                17981192               100.00%               75.00%
Archer B&C              224               C3                17981195               100.00%               75.00%
Archer B&C              224               C4                17981196               100.00%               75.00%
Archer B&C              224               C5                17981197               100.00%               75.00%
Archer B&C              224               C7                17981199               100.00%               75.00%
Archer C                179779            2G                17906541               100.00%               75.00%
National                222               8W                17900862               100.00%               75.00%
National                222               5W                17900863               100.00%               75.00%
National                222               2                 17903568               100.00%               75.00%
National                222               4                 17903569               100.00%               75.00%
National                222               1                 17981177               100.00%               75.00%
National                222               3                 17981179               100.00%               75.00%

3
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit B, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).



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National              222                6        17981182            100.00%          75.00%
National              222                7        17981183            100.00%          75.00%
PA Worley             658                1        17983514            100.00%          75.00%
PA Worley             658                2        17983515            100.00%          75.00%
PA Worley             658                3        17983516            100.00%          75.00%
PA Worley             658                6        17983517            100.00%          75.00%
PA Worley             658                7        17983518            100.00%          75.00%
PA Worley             658                8W       17983519            100.00%          75.00%
Worley Reynolds       545                8        17905656            100.00%          87.50%
Worley Reynolds       545                6        17982691            100.00%          87.50%
Worley Reynolds       545                7        17982692            100.00%          87.50%
Worley Reynolds       545                10       17982695            100.00%          87.50%

                  INCLUDED LEASES IN HUTCHINSON COUNTY, TEXAS

               Lessor                         Lessee         WI%         NRI%          Recording
                                                                                      Information
            June C. Pipkin                    LERA           37.50%     28.1250%    Vol. 1383, Pg. 10
         Mary Ann Caldwell                    LERA           37.50%     28.1250%    Vol. 1395, Pg. 344
             Beth R. Stuart                   LERA           37.50%     28.1250%    Vol. 1395, Pg. 346
           Frank S. Ryburn                    LERA           37.50%     28.1250%    Vol. 1397, Pg. 104
Joan Carder, Dist. Clerk of Hutchinson        LERA           37.50%     28.1250%    Vol. 1528, Pg. 300
             County, Texas
     Gore Creek Capital, Limited              LERA           37.50%     28.1250%    Vol. 1568, Pg. 177
          Maryann Williams                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 182
        James William Means                   LERA           37.50%     28.1250%    Vol. 1568, Pg. 184
         John Robert Means                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 192
       Russell Thomas Henry                   LERA           37.50%     28.1250%    Vol. 1568, Pg. 200
        Sherry A. Tyler Owen                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 212
           Frances Schlock                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 214
      Frances Michelle Terhune                LERA           37.50%     28.1250%    Vol. 1568, Pg. 216
             Frank Susman                     LERA           37.50%     28.1250%    Vol. 1568, Pg. 221
            Marianne Karsn                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 223
          Cecilia Kesselgren                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 231
          Frank Hugh Terry                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 233
          Terry Family Trust                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 235
          Ruth Ionne Quick                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 239
          Kenneth H. Terry                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 241
       William Camden Terry                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 325
        Kristen Kay Sternberg                 LERA           37.50%     28.1250%    Vol. 1570, Pg. 328
          J.K. Bigham, et al                  LERA           37.50%     28.1250%    Vol. 1570, Pg. 330
           Donna Rae Mead                     LERA           37.50%     28.1250%    Vol. 1570, Pg. 333
          Patty Weber, et vir                 LERA           37.50%     28.1250%    Vol. 1570, Pg. 336
        Robert E. Davis, et ux                LERA           37.50%     28.1250%    Vol. 1570, Pg. 339
               Jana Mirs                      LERA           37.50%     28.1250%    Vol. 1570, Pg. 348
          Arland A. Speidel                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 344
          Terry Lynn Carson                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 346
            Larry C. Nelson                   LERA           37.50%     28.1250%    Vol. 1578, Pg. 111
         Emma Jean Speidel                    LERA           37.50%     28.1250%    Vol. 1578, Pg. 113
          Bruce David Terry                   LERA           37.50%     28.1250%    Vol. 1583, Pg. 183
           Joyce M. Yowell                    LERA           37.50%     28.1250%    Vol. 1591, Pg. 114
          William R. Yowell                   LERA           37.50%     28.1250%    Vol. 1591, Pg. 116
            Shelia M. Terry                   LERA           37.50%     28.1250%    Vol. 1591, Pg. 118




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          J.M. Huber Corporation               SNW Operating            37.50%     28.1250%       Vol. 1383, Pg. 8
                                                Company, Inc.
             E.B. Johnson, et al            The Pure Oil Company        37.50%     28.1250%       Vol. 28, Pg. 209
     E.B. Johnson and Sons Estate, et al      Phillips Petroleum        37.50%     28.1250%       Vol. 59, Pg. 639
                                                   Company
            Jerlyn J. Agar, et al             Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 612
            Jerlyn J. Agar, et al             Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 617
          Robert A. Johnson, et al            Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 622
        Johnson Royalty Company               Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 624
             Philip C. Kidd, Jr.              Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 626
            E.B. Johnson, et al              George Montgomery          37.50%     28.1250%       Vol. 17, Pg. 462
     J.M. Sanford and wife, Garland S.         J.O. Whittington         37.50%     28.1250%       Vol. 21, Pg. 1214
                  Sanford
          Mrs. Garland S. Sanford          J.M. Huber Corporation       37.50%     28.1250%       Vol. 127, Pg. 321
            E.B. Johnson, et al                 Dorset Carter           37.50%     28.1250%        Vol. 28, Pg. 28
            E.B. Johnson, et al                A.L. Anderson            37.50%     28.1250%       Vol. 27, Pg. 336
        Montford T. Johnson, et ux            Phillips Petroleum        37.50%     28.1250%       Vol. 155, Pg. 110
                                                   Company
             E.B. Johnson, et al               Dixon Creek Oil          37.50%     28.1250%        Vol. 5, Pg. 217
                                                   Company
             W.E. Herring, et al           J.M. Huber Corporation      100.00%      75.00%       Vol. 71, Page 264
           Neil R. Johnson, et al          J.M. Huber Corporation      100.00%      70.00%       Vol. 127, Pg. 147
              Garland Sanford              J.M. Huber Corporation      100.00%      75.00%       Vol. 103, Pg. 406
          Stanolind Oil & Gas Co.          J.M. Huber Corporation      100.00%      75.00%       Vol. 103, Pg. 4115
             J.M. Sanford, et al                Associated Oil         100.00%      75.00%        Vol. 46, Pg. 480
                                               Company, et al
    J.M. Sanford & wife, Garland Sanford   Marland Oil Company of      100.00%      75.00%        Vol. 35, Pg. 290
                                                     Texas
           Richard S. Coon, et al             DCW Production           100.00%      72.50%        Vol. 375, Pg. 110
                                                   Company
       J.A. & Leta M. Chapman Trust           DCW Production           100.00%      72.50%        Vol. 389, Pg. 407
                                                   Company
        Amoco Production Company              DCW Production           100.00%      72.50%        Vol. 389, Pg. 411
                                                   Company
             Perry Stevens, et al               Dorsett Carter         100.00%      75.00%        Vol. 28, Pg. 122
              E.B. Johnson, et al            Lawrence R. Hagy          100.00%      75.00%        Vol. 28, Pg. 20
              J.A. Whittenburg             George A. Whittenburg       100.00%      71.09%        Vol. 20, Pg. 450
           George A. Whittenburg                  C.C. Patten          100.00%      71.09%        Vol. 20, Pg. 453
            Neil R. Johnson, et al                H.F. Sears           100.00%      70.00%       Vol. 155, Pg. 418
                Perry Stevens                     H.F. Sears           100.00%      70.00%       Vol. 155, Pg. 446
              E.B. Johnson, et al               V.N. Souligny          100.00%      72.50%        Vol. 27, Pg. 288
            Neil R. Johnson, et al         J.M. Huber Corporation      100.00%      72.50%       Vol. 127, Pg. 311
         Johnson Royalty Company                    LERA               100.00%      72.50%       Vol. 1727, Pg. 181
          Johnson Royalty Account                   LERA               100.00%      72.50%       Vol. 1727, Pg. 184
             Johnson Enterprises                    LERA               100.00%      72.50%       Vol. 1727, Pg. 187
         Johnson Mineral Purchase                   LERA               100.00%      72.50%       Vol. 1727, Pg. 190
          Sallie Pritchard, a widow              J.P. Woodall          100.00%      75.00%        Vol. 66, Pg. 98


4
  The recording at Vol. 21, Pg. 121, covers others leases/wells with 100% WI% and 75% NRI%, including the
Included Wells Sanford D2, Sanford M2, Sanford 3, Chap 3, Chap 4, and Continental Sanford.
5
  Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 103, Pg. 441. The correct recording information is Vol. 103, Pg. 411, which is being
corrected herein and conveyed.



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           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 64, Pg. 4436
           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 64, Pg. 2666
           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 69, Pg. 1656

                   INCLUDED WELLS IN HUTCHINSON COUNTY, TEXAS7

Lease                               RRC#            Well #         API #               WI%                NRI%
A K Johnson                         39798           1              23380640            37.50%             28.13%
Black                               228564          1              23333202            37.50%             28.13%
Blade Sanford                       4278            1              23330345            100.00%            75.00%
Blade Sanford                       4278            2              23330577            100.00%            75.00%
Blade Sanford                       4278            3              23330578            100.00%            75.00%
Blade Sanford                       4278            4              23330632            100.00%            75.00%
Blade Sanford                       4278            6              23330743            100.00%            75.00%

Chapp 3                             24785           3              23380247            100.00%            75.00%
Chapp 4                             24786           4              23380248            100.00%            75.00%
Continental Sanford                 919             7              23381989            100.00%            75.00%
Continental Sanford                 919             8              23381990            100.00%            75.00%
Continental Sanford                 919             10             23381991            100.00%            75.00%
Continental Sanford                 919             11             23331143            100.00%            75.00%
Davis 1R                            223864          1R             23333078            100.00%            75.00%
Dee O Gee 1                         264833          1              23333448            100.00%            70.00%
Dee O Gee 2                         276608          2              23333449            100.00%            70.00%
Diana Shaw                          253074          1R             23333419            37.50%             28.13%
Gulf Sanford A                      217267          1R             23333067            37.50%             28.13%
Hagy 1                              24887           1              23380271            100.00%            75.00%
J. Johnson                          24965           16             23380299            37.50%             28.13%
J. Johnson                          246375          17             23333339            37.50%             28.13%
Johnson 1R                          224920          1R             23331826            100.00%            75.00%
Johnson A                           4992            1              23331233            100.00%            72.50%
Johnson A                           4992            3              23332278            100.00%            72.50%
Johnson AC                          2868            1              23385258            100.00%            72.50%
Johnson AC                          2868            2              23313790            100.00%            72.50%
Johnson D                           3157            1              23305842            100.00%            75.00%
Johnson D                           3157            2              23385301            100.00%            75.00%
Johnson G                           3939            2              23333453            100.00%            72.50%
Johnson G                           3939            4              23330247            100.00%            72.50%
Johnson K                           24953           1              23380294            37.50%             28.13%
Johnson K                           211384          1R             23333036            37.50%             28.13%
Johnson O                           206970          1R             23333011            37.50%             28.13%
Klyne                               224860          1              23333070            37.50%             28.13%


6
  These three leases are in both Carson County and Hutchinson County. Due to scriveners error in the prior Deed of
Trust and Conveyance, these three leases were listed as Included Leases in Carson County. The recording
information provided in the Deed of Trust and Conveyance is a reference to the recording information in Hutchinson
County. To clarify and correct the prior scriveners error, these leases are now listed under Hutchinson County.
7
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit B, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).



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Klyne                        218196     2         23333072      37.50%      28.13%
Kyle                         5316       1         23331535      100.00%     70.00%
Kyle                         5316       4         23331538      100.00%     70.00%
Kyle 3                       269610     3         23331536      100.00%     70.00%
Lil Randi                    9388       2         23333503      100.00%     75.01%
Payne Herring                719        1         23380830      100.00%     75.00%
Payne Herring                720        3         23380832      100.00%     75.00%
Payne Herring                721        4         23380833      100.00%     75.00%
Payne Herring                722        5         23380834      100.00%     75.00%
Payne Herring                723        6         23380835      100.00%     75.00%
Payne Herring                724        7         23380836      100.00%     75.00%
Payne Herring                725        8         23380837      100.00%     75.00%
Phillips C                   25073      1         23380320      37.50%      28.13%
Pruett B                     5711       1         23331581      100.00%     63.00%
Pruett B                     5711       2         23331793      100.00%     63.00%
Pruett B                     5711       4         23331833      100.00%     63.00%
Pruett B                     5711       5         23331957      100.00%     63.00%
Pruett B                     5711       9         23333512      100.00%     63.00%
RC Ware                      1299       1         23384008      100.00%     87.50%
RC Ware                      1299       2         23384009      100.00%     87.50%
RC Ware                      1299       4         23384011      100.00%     87.50%
RC Ware                      1299       7         23384014      100.00%     87.50%
RC Ware                      1299       8         23384015      100.00%     87.50%
RC Ware                      1299       9         23384016      100.00%     87.50%
RC Ware                      1299       10        23384017      100.00%     87.50%
RC Ware                      1299       11        23384018      100.00%     87.50%
RC Ware                      1299       12        23384019      100.00%     87.50%
RC Ware                      1299       13        23384020      100.00%     87.50%
RC Ware                      1299       14        23384021      100.00%     87.50%
RC Ware                      1299       15        23384022      100.00%     87.50%
RC Ware                      1299       16        23384023      100.00%     87.50%
Rice Patty                   267167     1         23333451      37.50%      28.13%
Sallie Pritchard             2212       3         23384798      100.00%     75.00%
Sallie Pritchard             2212       4         23384799      100.00%     75.00%
Sallie Pritchard             2212       5         23309312      100.00%     75.00%
Sallie Pritchard             2212       6         23384801      100.00%     75.00%
Sallie Pritchard             2212       8         23384803      100.00%     75.00%
Sallie Pritchard             2212       9         23330976      100.00%     75.00%
Sanford 3                    25258      3         23380368      100.00%     75.00%
Sanford A15                  145518     A15       23307579      100.00%     72.50%
Sanford C5                   35065      5         23380627      100.00%     75.00%
Sanford D2                   23927      D2        23380160      100.00%     75.00%
Sanford E2                   23929      E2        23380162      100.00%     75.00%
Sanford M2                   23937      M2        23380165      100.00%     75.00%
Whittenburg 5                25269      5         23380373      100.00%     71.94%
Herring 4                    23812      4         23380081      100.00%     75.00%
Johnson 2                    25251      2         23380361      100.00%     70.00%
Johnson F1                   23878      F1        23380129      100.00%     70.00%
Sanford -M-                  886        1         233-81622     100.00%     75.00%
E Herring                    977        6A        23331035      100.00%     75.00%
E Herring                    977        8         23331273      100.00%     75.00%
E Herring                    977        10        23331275      100.00%     75.00%
E Herring                    977        9         23331276      100.00%     75.00%




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E Herring                           977              11             23331450              100.00%           75.00%
E Herring                           977              6              23332290              100.00%           75.00%
E Herring                           977              12             23333452              100.00%           75.00%
E Herring                           977              3              23382245              100.00%           75.00%
E Herring                           977              5              23382246              100.00%           75.00%

                                  PART 2 – GS ENERGY PROPERTIES

                        INCLUDED LEASES IN CARSON COUNTY, TEXAS

           Lessor                                 Lessee                        DATE       Recording Information
Trustees of S. B. Burnett et al   J.E. Crosbie                                4/3/1924     Vol. 31, Pg. 635
Trustees of S. B. Burnett et al   J.M. Huber Corporation                      6/2/1936     Vol. 62, Pg. 560
B F and Ida Block                 H C Tyrrell                                 4/19/1924    Vol. 29, Pg. 402
Greg Bobbitt                      D J Sargent                                 6/16/1998    Vol. 288, Pg. 420
Mark Bobbitt                      D J Sargent                                 6/16/1988    Vol. 288, Pg. 422
Louise Casey, et al               Charles T Wagner                            9/15/1949    Vol. 86, Pg. 170
Louise Casey, et al               Charles T Wagner                            3/8/1950     Vol. 87, Pg. 210
R C Ware, et al                   Drilling and Exploration Company, Inc.      3/9/1953     Vol. 94, Pg. 580
R C Ware, et al                   Drilling and Exploration Company, Inc.      5/16/1953    Vol. 95, Pg. 292

                        INCLUDED WELLS IN CARSON COUNTY, TEXAS8

Lease                    RRC#              Well #            API #                   WI%                  NRI%
Burnett -A-              100               1                 65-80957                100.00%              75.00%
Burnett -A-              100               3                 65-80959                100.00%              75.00%
Burnett -A-              100               4                 65-80960                100.00%              75.00%
Burnett -A-              100               5                 65-80961                100.00%              75.00%
Burnett -A-              137588            7                 65-31839                100.00%              75.00%
Burnett -A-              100               2W                65-02435                100.00%              75.00%
Burnett -B-              101               1                 65-80962                100.00%              68.75%
Burnett -B-              101               2                 65-80963                100.00%              68.75%
Burnett -B-              101               3                 65-80964                100.00%              68.75%
Burnett -B-              101               4                 65-80965                100.00%              68.75%
Burnett -B-              101               5                 65-02445                100.00%              68.75%
Pickens                  2482              4                 65-30778                100.00%              75.00%
Pickens                  2482              5                 65-30797                100.00%              75.00%
Pickens                  2482              3W                65-01093                100.00%              75.00%
Ware -A-                 79                1                 65-00407                100.00%              75.00%
Ware -A-                 79                3                 65-02635                100.00%              75.00%
Ware -A-                 79                4                 65-00435                100.00%              75.00%
Ware -A-                 79                9                 65-02416                100.00%              75.00%
Ware -A-                 79                10                65-00536                100.00%              75.00%
Ware -A-                 79                13                065-02638               100.00%              75.00%
Ware -A-                 79                14                65-00436                100.00%              75.00%
Ware -A-                 79                15                65-02419                100.00%              75.00%

8
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit B, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).



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Ware -A-               79                16             65-00431              100.00%           75.00%
Ware -A-               79                17             65-02639              100.00%           75.00%
Ware -A-               79                18             65-02640              100.00%           75.00%
Ware -A-               79                23             65-30640              100.00%           75.00%
Ware -A-               79                24             65-30641              100.00%           75.00%
Ware -A-               79                25             65-30665              100.00%           75.00%
Ware -A-               79                26             65-30668              100.00%           75.00%
Ware -A-               79                27             65-30666              100.00%           75.00%
Ware -A-               79                28             65-30667              100.00%           75.00%
Ware -A-               79                29             65-30659              100.00%           75.00%
Ware -A-               79                1038           65-30736              100.00%           75.00%
Ware -B-               762               21             65-30664              100.00%           75.00%
Ware -B-               762               22             65-30661              100.00%           75.00%
Ware -B-               762               23             65-30662              100.00%           75.00%
Ware -B-               762               24             65-30663              100.00%           75.00%
Ware -B-               762               25             65-30660              100.00%           75.00%
Ida Block              143               2              65-81622              100.00%           75.00%
Ida Block              143               3              65-81623              100.00%           75.00%
Ida Block              143               4              65-81624              100.00%           75.00%
Ida Block              143               5              65-81625              100.00%           75.00%
Ida Block              143               7              65-81627              100.00%           75.00%
Ida Block              143               9              65-30815              100.00%           75.00%
Bobbitt                4417              1              65-30621              100.00%           75.00%
Bobbitt                4417              2              65-31306              100.00%           75.00%
Bryan                  177               1              65-81761              100.00%           75.00%
Bryan                  177               2              65-30614              100.00%           75.00%
Bryan                  177               3              65-30581              100.00%           75.00%
Bryan                  177               4              65-30979              100.00%           75.00%

                       INCLUDED LEASES IN MOORE COUNTY, TEXAS

                Lessor                               Lessee                Date     Recording Information
Elizabeth Nelson                         Sinclair Prarie Oil Company    10/9/1935   Vol. 55, Pg. 50
Evelyn & Standish Holmes                 Sinclair Prarie Oil Company    10/9/1935   Vol. 55, Pg. 37
Foster Petroleum Corporation             Direction Energy Corporation   5/5/1983    Vol. 314, Pg. 401
Cities Service Oil and Gas Corporation   Direction Energy Corporation   8/12/1983   Vol. 318, Pg. 744
Harriett D. Witherbee, et al             Phillips Petroleum Company     9/7/1939    Vol. 72, Pg. 131
Nellie Loeber, et al                     Phillips Petroleum Company     4/30/1937   Vol. 65, Pg. 206




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                         INCLUDED WELLS IN MOORE COUNTY, TEXAS9

Lease                        RRC#            Well #           API #                  WI%                  NRI%
Nellie Loeber                1798            6                341-30624              100.00%              68.75%
Nellie Loeber                1798            8                341-30822              100.00%              68.75%
Witherbee                    4633            1                341-30595              97.50%               68.25%
Witherbee                    4633            2                341-30784              97.50%               68.25%
Witherbee                    4633            3                341-31117              97.50%               68.25%
Witherbee                    4633            4                341-31116              97.50%               68.25%
Cooper                       5560            1                341-31016              49.50%               34.65%
Cooper                       5560            2                341-31297              49.50%               34.65%


                    INCLUDED LEASES IN HUTCHINSON COUNTY, TEXAS

         Lessor                            Lessee                         Date       Recording Information
  Otis Phillips, et al           Shell Petroleum Company                9/4/1936       Vol. 73, Pg. 21510
E and Lucille Watkins               Skelly Oil Company                  3/16/1933        Vol. 63, Pg. 42
   R C Ware, et al        Drilling and Exploration Company, Inc.        3/9/1953        Vol. 155, Pg. 288
  J W Moore, et ux          Southwestern Petroleum Company             11/27/1922        Vol. 24, Pg. 88
    C T Ware, et al                      J R Phillips                  8/17/1937        Vol. 78, Pg. 232
   R C Ware, et al        Drilling and Exploration Company, Inc.       5/16/1953        Vol. 155, Pg. 475
Estate of Sue Stevens           Tri-State Petroleum Investors           2/9/1981       Vol. 483, Pg. 23911
  W.L. Watters, et al         Standard Oil Company of Texas            8/21/1964        Vol. 305, Pg. 373
 Roy Stevenson et al            Suerco Energy Development              6/26/1984        Vol. 506, Pg. 376
    Ellis and Mary                      S G Cockrell                   1/20/1926        Vol. 33, Pg. 520
        Cockrell
   C R Garner, et al                 Texas Company                     5/10/1921         Vol. 20, Pg. 430
      Joe Harlan             North Star Petroleum Corporation           5/1/1967         Vol. 337, Pg. 351
  Billie Ione Gilliam        North Star Petroleum Corporation           2/2/1967         Vol. 335, Pg. 370
 and John W. Gilliam




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this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).
10
   Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 72, Pg. 215. The correct recording information is Vol. 73, Pg. 215, which is being
corrected herein and conveyed.
11
   This lease is associated with the Jimmy II and Southbend wells that were included in the prior deed of trust and
conveyance - although the lease was not specifically listed.



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                   INCLUDED WELLS IN HUTCHINSON COUNTY, TEXAS12

Lease                     RRC#            Well #         API #                WI%                NRI%
Jimmy II                  5437            1              233-31579            100.00%            75.00%
Jimmy II                  5437            2              233-32279            100.00%            75.00%
Lasater                   1948            3              233-84541            100.00%            75.00%
Lasater                   1948            4              233-10499            100.00%            75.00%
Lasater                   1948            5              233-84543            100.00%            75.00%
Lasater                   1948            7              233-10501            100.00%            75.00%
Lasater                   1948            2W             233-10707            100.00%            75.00%
Nellie Loeber             1798            2              233-84409            100.00%            68.75%
Nellie Loeber             1798            3              233-84410            100.00%            68.75%
Nellie Loeber             1798            lW             233-32771            100.00%            68.75%
Otis Phillips             2363            3              233-84959            100.00%            65.63%
Otis Phillips             2363            4              233-84960            100.00%            65.63%
Otis Phillips             2363            5              233-30945            100.00%            65.63%
Southbend                 100834          1              233-31294            56.88%             47.15%
Ware                      1242            1              233-07819            100.00%            75.00%
Ware                      1242            2              233-30087            100.00%            75.00%
Ware -A-                  79              2              233-07824            100.00%            75.00%
Ware -A-                  79              5              233-01381            100.00%            75.00%
Ware -A-                  79              6              233-01383            100.00%            75.00%
Ware -A-                  79              11             233-01386            100.00%            75.00%
Ware -A-                  79              19             233-80697            100.00%            75.00%
Ware -A-                  79              20             233-80698            100.00%            75.00%
Ware -A-                  79              21             233-80699            100.00%            75.00%
Ware -A-                  79              22             233-80700            100.00%            75.00%
Ware -A-                  79              1030           233-30690            100.00%            75.00%
Ware -A-                  79              1031           233-30689            100.00%            75.00%
Ware -A-                  79              1032           233-30688            100.00%            75.00%
Ware -A-                  79              1033           233-30687            100.00%            75.00%
Ware -A-                  79              1034           233-30686            100.00%            75.00%
Ware -A-                  79              1035           233-30683            100.00%            75.00%
Ware -A-                  79              1036           233-30684            100.00%            75.00%
Ware -A-                  79              1037           233-30685            100.00%            75.00%
Ware -A-                  79              12W            233-01387            100.00%            75.00%
Ware -B-                  762             1              233-01357            100.00%            75.00%
Ware -B-                  762             2              233-80972            100.00%            75.00%
Ware -B-                  762             3              233-80973            100.00%            75.00%
Ware -B-                  762             4              233-80974            100.00%            75.00%
Ware -B-                  762             5              233-80975            100.00%            75.00%
Ware -B-                  762             6              233-80976            100.00%            75.00%
Ware -B-                  762             7              233-80977            100.00%            75.00%
Ware -B-                  762             8              233-80978            100.00%            75.00%
Ware -B-                  762             9              233-80979            100.00%            75.00%
Ware -B-                  762             10             233-80980            100.00%            75.00%

12
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit B, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).



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Ware -B-             762          11        233-80981     100.00%       75.00%
Ware -B-             762          12        233-80982     100.00%       75.00%
Ware -B-             762          13        233-80983     100.00%       75.00%
Ware -B-             762          14        233-80984     100.00%       75.00%
Ware -B-             762          15        233-80985     100.00%       75.00%
Ware -B-             762          16        233-80986     100.00%       75.00%
Ware -B-             762          17        233-80987     100.00%       75.00%
Ware -B-             762          18        233-80988     100.00%       75.00%
Ware -B-             762          20        233-80990     100.00%       75.00%
Ware -B-             762          2026      233-30697     100.00%       75.00%
Ware -B-             762          2027      233-30696     100.00%       75.00%
Ware -B-             762          2028      233-30695     100.00%       75.00%
Ware -B-             762          2030      233-30693     100.00%       75.00%
Ware -B-             762          2031      233-30692     100.00%       75.00%
Ware -B-             762          2032      233-30691     100.00%       75.00%
Watkins -A-          1202         1         233-83279     100.00%       75.00%
Watkins -A-          1202         2         233-83280     100.00%       75.00%
Watkins -A-          1202         3         233-83281     100.00%       75.00%
Watkins -A-          1202         4         233-83282     100.00%       75.00%
Watkins -A-          1202         5         233-83283     100.00%       75.00%
Watkins -A-          1202         6         233-83284     100.00%       75.00%
Watkins -A-          1202         7         233-83285     100.00%       75.00%
Watkins -A-          1202         8         233-83286     100.00%       75.00%
Watkins -A-          1202         10        233-83288     100.00%       75.00%
Watkins -A-          1202         12        233-83290     100.00%       75.00%
Watkins -A-          1202         13G       233-12965     100.00%       75.00%
J W Moore            1276         1         233-83828     100.00%       75.00%
J W Moore            1276         2         233-83829     100.00%       75.00%
J W Moore            1276         4         233-83830     100.00%       75.00%
J W Moore            1276         5         233-83831     100.00%       75.00%
J W Moore            1276         7         233-83832     100.00%       75.00%
J W Moore            1276         8G        233-10484     100.00%       75.00%
J W Moore            1276         9         233-83834     100.00%       75.00%
J W Moore            1276         10        233-83835     100.00%       75.00%
J W Moore            1276         11        233-83836     100.00%       75.00%
J W Moore            1276         12        233-83837     100.00%       75.00%
J W Moore            1276         14        233-83839     100.00%       75.00%
W L Watters          43243        1         233-80656     91.67%        68.06%
C R Garner "B"       1271         4         233-83771     100.00%       75.00%
C R Garner "B"       1271         6         233-83773     100.00%       75.00%
C R Garner "B"       1271         7G        233-83774     100.00%       75.00%
C R Garner "B"       1271         8         233-83775     100.00%       75.00%
C R Garner "B"       1271         11        233-83776     100.00%       75.00%
C R Garner "B"       1271         12        233-83777     100.00%       75.00%
C R Garner "B"       1271         13        233-83778     100.00%       75.00%
E P Hackley          42528        1         233-20100     68.43%        52.13%
Sanford -M-          886          1         233-81622     100.00%       75.00%
Roy O Stevenson      5899         lA        233-31948     93.50%        67.25%
Roy O Stevenson      5899         2A        233-31949     93.50%        67.25%
Roy O Stevenson      5899         3A        233-32126     93.50%        67.25%
Killough             3797         1         233-85495     100.00%       75.00%
Killough             3797         2         233-85496     100.00%       75.00%
Killough             3797         3         233-85497     100.00%       75.00%




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Killough          3797        4         233-85498     100.00%       75.00%
Killough          3797        5W        233-30230     100.00%       75.00%




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                                             EXHIBIT B

                               EXCLUDED LEASES AND WELLS


                         EXCLUDED LEASES IN GRAY COUNTY, TEXAS

       Lessor                   Lessee          WI%          NRI%       Recording           Excluded
                                                                       Information           Wells
    Alexander J.         Roxanna Petroleum     100.00%       87.50%     Vol. 26, Pg.        26-27
   Chapman, et ux             Corp.                                    328



                      EXCLUDED WELLS IN GRAY COUNTY, TEXAS


   Ref. #             Lease            RRC#         Well #         API #         WI%            NRI%
 26         Chapman                  447        3              17982328      100.00%         75.00%
 27         Chapman                  447        7              17982332      100.00%         75.00%




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                                            EXHIBIT C

                                PONDEROSA ENERGY DEED


                          DEED IN LIEU OF FORECLOSURE

THE STATE OF TEXAS                    §
                                      §       KNOW ALL MEN BY THESE PRESENTS:
COUNTIES OF HUTCHINSON,               §
GRAY AND CARSON                       §


        That Ponderosa Energy, LLC, a Delaware limited liability company (“Grantor”), for
and in consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other good and
valuable consideration to Grantor in hand paid by Grantee herein named, the receipt and
sufficiency of which are hereby acknowledged and confessed, has GRANTED, BARGAINED,
SOLD, and CONVEYED, and by these presents does GRANT, BARGAIN, SELL, and
CONVEY unto Borger Resources 2 LLC, a Missouri limited liability company (“Grantee”),
with a principal address at 400 N. St. Paul, Suite 505, Dallas, Texas 75201, all of the Properties
(as defined below), together with all improvements and fixtures located therein, thereon or used
in conjunction therewith, all and singular, the benefits, privileges, easements and leases therein,
thereon or in anywise appertaining thereto, and any and all rights, title, and interests of Grantor
in and to pipelines, subject, however, to the Deed of Trust and Volumetric Production Payment
(hereinafter defined) and the easements, restrictions, and other title exceptions of record affecting
the Properties. “Properties” shall mean the Grantor’s interest in oil, gas and/or mineral leases and
wells listed as “Included” in Exhibit 1 attached hereto, including the Included Leases In Carson
County, Texas; the Included Wells In Carson County, Texas; the Included Leases In Gray
County, Texas; the Included Wells In Gray County, Texas; the Included Leases In Hutchinson
County, Texas; the Included Wells In Hutchinson County, Texas; and all equipment owned by
Grantor used therein, thereon or in conjunction therewith as well as all easements and rights-of-
way owned by Grantor related thereto. “Properties” does not mean and specifically excludes the
leases and wells listed as “Excluded” in Exhibit 2 attached hereto, including the Excluded
Leases In Gray County, Texas; and the Excluded Wells In Gray County, Texas (collectively, the
“Excluded Leases and Wells”). The Excluded Leases and Wells are not being conveyed by
Grantor herein.

        Grantee is the designee of PPF 2 LLC (“Holder”), the sole owner and holder of that
certain Deed of Trust and Volumetric Production Payment (hereafter defined) arising from the
transaction between PPF 2 LLC and Ponderosa Energy, LLC, as memorialized in the
Conveyance of Term Overriding Royalty Interest (“Conveyance”), Production and Delivery
Agreement (“PDA”), and Deed of Trust, Mortgage, Assignment, Security Agreement and
Financing Statement (“Deed of Trust”), all of which were dated effective October 1, 2016 and
which assigned 75,000 barrels of oil from the oil and gas leases and wells described in Exhibit A
to the Conveyance, the PDA, and the Deed of Trust.


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EXHIBIT C - SETTLEMENT AGREEMENT                                                          Page 1 of 15
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       TO HAVE AND TO HOLD the Properties, together with all and singular, the rights and
appurtenances thereto in anywise belonging unto Grantee, its legal representatives, successors,
and assigns FOREVER; and Grantor does hereby bind itself and its legal representatives,
successors, and assigns to WARRANT AND FOREVER DEFEND all and singular the
Properties, subject as aforesaid, unto Grantee, its legal representatives, successors, and assigns,
and subject, however, as aforesaid.

       But it is expressly agreed and understood hereby that:

        A.     Notwithstanding the provisions hereof, the liens and security interests created by
the Deed of Trust and the Volumetric Production Payment (the “Liens”) for the Properties are
not released or relinquished in any manner or respect whatsoever and shall remain in existence
and in full force and effect until released by written instrument (the “Release”) duly executed
and acknowledged and filed of record in the Office of the County Clerk where the Properties are
located in Texas. The Deed of Trust (as defined below) and the Volumetric Production Payment
(as defined below) are each hereby expressly amended to provide that this Deed in Lieu of
Foreclosure shall not cause the termination of the Deed of Trust or the termination of the
Volumetric Production Payment with respect to the Properties, but the same shall continue in full
force and effect, until released by written instrument as described in the preceding sentence.
Such Release may be made as, if and when Grantee, or its successors or assigns, shall determine
in the exercise of its sole discretion. The Liens include, without limitation, the security interests
created by that certain Deed of Trust, Mortgage, Security Agreement, Assignment and Financing
Statement dated effective October 1, 2016, executed by Grantor, recorded as Document Number
00362811, Book OR, Vol. 1960, Page 24 in the Real Property Records of Hutchinson County,
Texas, as Document Number 0211107 in the Real Property Records of Gray County, Texas, and
as Document Number 2016-00001315, Vol. 666, Page 147 in the Real Property Records of
Carson County, Texas (the “Deed of Trust”); and the overriding royalty interests conveyed to
Grantee pursuant to that certain Conveyance of Overriding Royalty Interest dated effective
October 1, 2016, from Grantor to PPF 2 LLC, recorded as Document Number 00362810, Book
OR, Vol. 1960, Page 1 in the Real Property Records of Hutchinson County, Texas, as Document
Number 0192822, Vol. 784, Page 837, of the Real Property Records of Gray County, Texas, and
as Document Number 2016-00001252, Vol. 665, Page 119, of the Real Property Records of
Carson County, Texas (the “Volumetric Production Payment”).

        B.      For purposes of priority as between (i) intervening or inferior liens and
encumbrances, if any, on or against the Properties, and (ii) those Liens created by the Deed of
Trust and pursuant to the Volumetric Production Payment, it is the intent of Grantor and Grantee
that any and all rights of Grantee to exercise its remedies of foreclosure by private power of sale
pursuant to nonjudicial foreclosure or by judicial foreclosure of any of such Liens and the right
to exercise any other remedies are expressly preserved hereby and for purposes of limitations and
any other applicable time bar defense, are expressly extended as evidenced hereby. The priority
of the Lien of the Deed of Trust as to the Properties as well as the Volumetric Production
Payment obligations to which the Properties are subject are intended to be and shall remain in
full force and effect and nothing herein contained shall be construed to subordinate the priority
of the Lien of the Deed of Trust to any other liens or encumbrances whatsoever.



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EXHIBIT C - SETTLEMENT AGREEMENT                                                          Page 2 of 15
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        C.      Neither Grantor nor Grantee intend that there be, nor shall there in any event be, a
merger of any of the Liens with the title to the interest of Grantee in and to the Properties
obtained by Grantee by virtue of the conveyance made hereby, but do intend that the said Liens
and title to the Properties be kept separate, and such Liens shall merge only under one (1) or
more of the following conditions:

       1.              The foreclosure of the Liens; or

       2.      The sale of the Properties pursuant to the power of sale granted in the Deed of
               Trust; or

       3.      Holder, its successor or assigns, including Grantee, execute and file in the Deed
               Records of the foregoing Counties in Texas, the Release or other instrument
               specifically agreeing to permit the merger of the Liens with the title or other
               interests of Grantee in the Properties.

       In this regard, such interests shall not be merged in the event of the sale of the Properties
by Grantee, its successors or assigns, or the granting or acceptance of additional liens or interests
in the Properties, unless a separate written Release is executed and filed for public record, as
contemplated by subsection C.(3) above.

        D.      This Deed in Lieu of Foreclosure (and the conveyance made hereby) is being
voluntarily executed, delivered, and accepted in lieu of foreclosure, as part of a Settlement
Agreement and Release of Liability being executed contemporaneously herewith by and between
Petroleum Production Finance, Inc.; PPF 2 LLC; PPF 3 LLC; GS Energy, LLC; Ponderosa
Energy, LLC; Richard F. Sands; and Casimir Capital L.P. (the “Settlement Agreement”). With
respect to the transfer of title to the Properties to Grantee hereunder, the same shall be interpreted
and construed the same as a foreclosure of the Liens, legally and rightfully performed under the
laws of the State of Texas, and as an absolute conveyance to Grantee of all right, title and interest
of Grantor in and to the Properties, including specifically, but without limitation, any equity or
rights of redemption of Grantor in the Properties (or any portion thereof or interest therein).

        E.      In the event this conveyance is set aside for any reason whatsoever (i) the rights
and interests evidenced by the Deed of Trust and Volumetric Production Payment (except for the
Excluded Leases and Wells) shall be revived, and any cancellation and extinguishment of such
obligations, whether in whole or in part, shall be automatically revoked; (ii) the terms and
provisions of the Liens and obligations of Grantor evidenced by the Deed of Trust and the
Volumetric Production Payment shall be and continue in full force and effect; (iii) Grantee shall
have the right to foreclose on the rights and interests granted in the Deed of Trust and otherwise
securing the rights and interests secured and to take such other actions against Grantor or the
Properties as may be permitted at law or in equity; (iv) all costs of Grantee incurred in
connection with the enforcement of the rights and remedies of Grantee shall be deemed a part of
the obligations secured by the Dead of Trust and payable upon demand by Grantor; and (v) all
of the respective rights and remedies of Grantor and of Grantee against the other shall be revived
and restored in the same manner as if this Deed in Lieu of Foreclosure and the transactions
contemplated herein had not been entered into. Notwithstanding anything in this Deed in Lieu of
Foreclosure to the contrary, Grantee covenants and agrees that, except for any remedies related

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to a breach of the warranty of title to the Properties herein conveyed or a breach of the
Settlement Agreement, Grantee will seek no remedies against Grantor with respect to the
Properties or the transactions contemplated by the Settlement Agreement.

         F.      Grantor acknowledges and agrees that the conveyance of the Properties pursuant
hereto is an absolute conveyance of all of Grantor’s right, title, and interest in and to the
Properties and is not intended (now, or in the future) to constitute a deed of trust, mortgage, trust
conveyance or other security agreement of any nature whatsoever. Grantor hereby acknowledges
that, after the conveyance hereunder, Grantor shall have no further interest or claim with respect
to the Properties, including, without limitation, the rights to (1) manage the Properties; (2)
occupy or use the Properties in any manner; (3) receive any revenue from the Properties; (4)
receive any proceeds from the sale, transfer, financing or operation of the Properties; or (5)
repurchase, redeem or regain any right, title or interest in the Properties, or in any portion
thereof.

       G.      Grantor and Grantee covenant, acknowledge and agree that this Deed in Lieu of
Foreclosure is executed in connection with the Settlement Agreement.




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       IN WITNESS HEREOF, Grantor has caused this Deed in Lieu of Foreclosure to be
executed as of the date set forth in the acknowledgement below but effective for all purposes as
of ___________________, 2018.

                                        GRANTOR:
                                          Ponderosa Energy, LLC, a Delaware limited
                                          liability company


                                            By:
                                            Name:
                                            Title:



                                            Acknowledged and Accepted:

                                            GRANTEE:

                                            Borger Resources 2 LLC


                                            By:
                                            Name:
                                            Title:


                                            HOLDER:

                                            PPF 2 LLC


                                            By:
                                            Name:
                                            Title:




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THE STATE OF _________           §
                                 §
COUNTY OF ____________           §

      The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of Ponderosa Energy, LLC, a
Delaware limited liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:




THE STATE OF _________           §
                                 §
COUNTY OF ____________           §

      The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of Borger Resources 2 LLC, a
Missouri limited liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:




THE STATE OF TEXAS               §
                                 §
COUNTY OF TRAVIS                 §

         The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of PPF 2 LLC, a Delaware limited
liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:




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                        INCLUDED LEASES IN CARSON COUNTY, TEXAS

               Lessor                    Lessee       WI%          NRI%             Recording
                                                                                   Information
          Mrs. Belle Kirby             Panhandle     100.00%      75.00%          Vol. 52, Pg. 506
                                        Refining
                                       Company
    Amarillo National Bank, et al,       LERA         36.77%     26.6565%         Vol. 448, Pg. 11
              Trustees
    Amarillo National Bank, et al,       LERA         36.77%     26.6565%         Vol. 448, Pg. 19
              Trustees
          Arleen E. Stone                LERA         36.77%     26.6565%         Vol. 448, Pg. 27
          Arleen E. Stone                LERA         36.77%     26.6565%         Vol. 448, Pg. 32
        Richard S. Coon, Jr.             LERA         36.77%     26.6565%         Vol. 448, Pg. 37
        Richard S. Coon, Jr.             LERA         36.77%     26.6565%         Vol. 448, Pg. 42
      Cathryn Coon Doughtie              LERA         36.77%     26.6565%         Vol. 448, Pg. 47
      Cathryn Coon Doughtie              LERA         36.77%     26.6565%         Vol. 448, Pg. 52
          Billy Whiteside                LERA         36.77%     26.6565%        Vol. 449, Pg. 162
          Billy Whiteside                LERA         36.77%     26.6565%        Vol. 449, Pg. 167
       Nancy Ann Blanchard               LERA         36.77%     26.6565%        Vol. 449, Pg. 172
       Nancy Ann Blanchard               LERA         36.77%     26.6565%        Vol. 449, Pg. 177
      The Boyd Family Trust              LERA         36.77%     26.6565%        Vol. 449, Pg. 182
      The Boyd Family Trust              LERA         36.77%     26.6565%        Vol. 449, Pg. 187
       Herring Bank, Trustee             LERA         36.77%     26.6565%        Vol. 449, Pg. 192
       Herring Bank, Trustee             LERA         36.77%     26.6565%        Vol. 449, Pg. 200
         Michael L. O'Neal               LERA         36.77%     26.6565%        Vol. 450, Pg. 242
         Michael L. O'Neal               LERA         36.77%     26.6565%        Vol. 450, Pg. 247
         Barbara B. Creel                LERA         36.77%     26.6565%        Vol. 450, Pg. 252
         Barbara B. Creel                LERA         36.77%     26.6565%        Vol. 450, Pg. 257
      Dorothea Girault Garrett           LERA         36.77%     26.6565%        Vol. 451, Pg. 110
      Dorothea Girault Garrett           LERA         36.77%     26.6565%        Vol. 451, Pg. 115
     Cal Farley's Boyd Ranch             LERA         36.77%     26.6565%        Vol. 453, Pg. 123
       Richard Ware, II, et al           LERA         36.77%     26.6565%        Vol. 453, Pg. 133
        JASE Family, Ltd.                LERA         36.77%     26.6565%        Vol. 454, Pg. 221
        JASE Family, Ltd.                LERA         36.77%     26.6565%        Vol. 454, Pg. 226
      Thomas D. Lumpkin, II              LERA         36.77%     26.6565%         Vol. 469, Pg. 39
       Suzanne Flinchpaugh               LERA         36.77%     26.6565%         Vol. 469, Pg. 49
     Cynthia Carroll Creswell            LERA         36.77%     26.6565%         Vol. 469, Pg. 44
          Carolyn Carroll                LERA         36.77%     26.6565%         Vol. 469, Pg. 54
        Florence Sullenger               LERA         36.77%     26.6565%        Vol. 484, Pg. 4591




1
  Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 484, Pg. 460. The correct recording information is Vol. 484, Pg. 459, which is being
corrected herein and conveyed.

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                        INCLUDED WELLS IN CARSON COUNTY, TEXAS2

Lease                       RRC#               Well #             API #               WI%                NRI%
Sanford 160                 235967             1                  6532107             36.77%             26.66%
Sanford 160                 267590             1R                 6532126             36.77%             26.66%
Sanford 480                 232482             1                  6532104             36.77%             26.66%
Kirby                       4970               2                  6531021             100.00%            75.00%
Kirby                       4970               1                  6531022             100.00%            75.00%

                            INCLUDED LEASES IN GRAY COUNTY, TEXAS

            Lessor                     Lessee            WI%       NRI%            Recording
                                                                                  Information
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 111, Pg. 619
                                   Petroleum
                                   Company
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 113, Pg. 283
                                   Petroleum
                                   Company
Froma J. Undegraff, et al          Phillips             100.00%    75.00%     Vol. 109, Pg. 377
                                   Petroleum
                                   Company
W.E. Archer                        Empire Gas           100.00%    75.00%     Vol. 28, Pg. 411
                                   and Fuel
                                   Company
W.E. Archer                        I.E. Duncan          100.00%    75.00%     Vol. 28, Pg. 597
C.S. Barrett & wife, Pearl         Texas                100.00%    81.25%     Vol. 34, Pg. 50
Barrett                            Company
Albert Combs & Phoebe A.           F.W. Dillard         100.00%    75.00%     Vol. 2, Pg. 155
Worley
Inez Carter, et al                 E.J. Dunigan         100.00%    75.00%     Vol. 124, Pg. 310
                                   Jr., et al
Phoebe A. Worley, et al            E.A. Haines, et      100.00%    87.50%     Vol. 2, Pg. 194
                                   al
T.B. Noble, et al                  George B. Ray        100.00%    87.50%     Vol. 44, Pg. 527




2
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit 2, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).

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                          INCLUDED WELLS IN GRAY COUNTY, TEXAS3

Lease                   RRC#              Well #            API #                  WI%                   NRI%
CS Barrett              624               1                 17983147               100.00%               81.25%
CS Barrett              624               2                 17983148               100.00%               81.25%
CS Barrett              624               3                 17907748               100.00%               81.25%
CS Barrett              624               4                 17983150               100.00%               81.25%
CS Barrett              624               5                 17983151               100.00%               81.25%
CS Barrett              624               6                 17983152               100.00%               81.25%
CS Barrett              624               7                 17983153               100.00%               81.25%
Foxx                    468               1                 17982388               100.00%               75.00%
Foxx                    468               5                 17982392               100.00%               75.00%
Foxx                    468               6                 17982393               100.00%               75.00%
Foxx                    468               7                 17982394               100.00%               75.00%
Foxx                    468               8                 17982395               100.00%               75.00%
Foxx                    468               10                17932047               100.00%               75.00%
Foxx                    468               11                17932265               100.00%               75.00%
Foxx                    468               12                17932264               100.00%               75.00%
Worley                  296               2W                17900564               100.00%               75.00%
Worley                  296               1                 17981499               100.00%               75.00%
Worley                  296               3                 17981501               100.00%               75.00%
Worley                  296               4                 17981502               100.00%               75.00%
Worley                  296               5                 17981503               100.00%               75.00%
Worley                  296               6                 17981504               100.00%               75.00%
Worley                  296               7                 17981505               100.00%               75.00%
Worley                  296               8                 17981506               100.00%               75.00%
Worley                  296               11                17981507               100.00%               75.00%
Johnson Y1              24963             Y1                17980310               100.00%               75.00%
Archer B                179778            7G                17906532               100.00%               75.00%
Archer B&C              224               B1                17981185               100.00%               75.00%
Archer B&C              224               B2                17981186               100.00%               75.00%
Archer B&C              224               B3                17981187               100.00%               75.00%
Archer B&C              224               B4                17981188               100.00%               75.00%
Archer B&C              224               B5                17981189               100.00%               75.00%
Archer B&C              224               B8                17981192               100.00%               75.00%
Archer B&C              224               C3                17981195               100.00%               75.00%
Archer B&C              224               C4                17981196               100.00%               75.00%
Archer B&C              224               C5                17981197               100.00%               75.00%
Archer B&C              224               C7                17981199               100.00%               75.00%
Archer C                179779            2G                17906541               100.00%               75.00%
National                222               8W                17900862               100.00%               75.00%
National                222               5W                17900863               100.00%               75.00%
National                222               2                 17903568               100.00%               75.00%
National                222               4                 17903569               100.00%               75.00%
National                222               1                 17981177               100.00%               75.00%
National                222               3                 17981179               100.00%               75.00%

3
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit 2, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).

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National              222                6        17981182            100.00%          75.00%
National              222                7        17981183            100.00%          75.00%
PA Worley             658                1        17983514            100.00%          75.00%
PA Worley             658                2        17983515            100.00%          75.00%
PA Worley             658                3        17983516            100.00%          75.00%
PA Worley             658                6        17983517            100.00%          75.00%
PA Worley             658                7        17983518            100.00%          75.00%
PA Worley             658                8W       17983519            100.00%          75.00%
Worley Reynolds       545                8        17905656            100.00%          87.50%
Worley Reynolds       545                6        17982691            100.00%          87.50%
Worley Reynolds       545                7        17982692            100.00%          87.50%
Worley Reynolds       545                10       17982695            100.00%          87.50%

                  INCLUDED LEASES IN HUTCHINSON COUNTY, TEXAS

               Lessor                         Lessee         WI%         NRI%          Recording
                                                                                      Information
            June C. Pipkin                    LERA           37.50%     28.1250%    Vol. 1383, Pg. 10
         Mary Ann Caldwell                    LERA           37.50%     28.1250%    Vol. 1395, Pg. 344
             Beth R. Stuart                   LERA           37.50%     28.1250%    Vol. 1395, Pg. 346
           Frank S. Ryburn                    LERA           37.50%     28.1250%    Vol. 1397, Pg. 104
Joan Carder, Dist. Clerk of Hutchinson        LERA           37.50%     28.1250%    Vol. 1528, Pg. 300
             County, Texas
     Gore Creek Capital, Limited              LERA           37.50%     28.1250%    Vol. 1568, Pg. 177
          Maryann Williams                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 182
        James William Means                   LERA           37.50%     28.1250%    Vol. 1568, Pg. 184
         John Robert Means                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 192
       Russell Thomas Henry                   LERA           37.50%     28.1250%    Vol. 1568, Pg. 200
        Sherry A. Tyler Owen                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 212
           Frances Schlock                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 214
      Frances Michelle Terhune                LERA           37.50%     28.1250%    Vol. 1568, Pg. 216
             Frank Susman                     LERA           37.50%     28.1250%    Vol. 1568, Pg. 221
            Marianne Karsn                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 223
          Cecilia Kesselgren                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 231
          Frank Hugh Terry                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 233
          Terry Family Trust                  LERA           37.50%     28.1250%    Vol. 1568, Pg. 235
          Ruth Ionne Quick                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 239
          Kenneth H. Terry                    LERA           37.50%     28.1250%    Vol. 1568, Pg. 241
       William Camden Terry                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 325
        Kristen Kay Sternberg                 LERA           37.50%     28.1250%    Vol. 1570, Pg. 328
          J.K. Bigham, et al                  LERA           37.50%     28.1250%    Vol. 1570, Pg. 330
           Donna Rae Mead                     LERA           37.50%     28.1250%    Vol. 1570, Pg. 333
          Patty Weber, et vir                 LERA           37.50%     28.1250%    Vol. 1570, Pg. 336
        Robert E. Davis, et ux                LERA           37.50%     28.1250%    Vol. 1570, Pg. 339
               Jana Mirs                      LERA           37.50%     28.1250%    Vol. 1570, Pg. 348
          Arland A. Speidel                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 344
          Terry Lynn Carson                   LERA           37.50%     28.1250%    Vol. 1570, Pg. 346
            Larry C. Nelson                   LERA           37.50%     28.1250%    Vol. 1578, Pg. 111
         Emma Jean Speidel                    LERA           37.50%     28.1250%    Vol. 1578, Pg. 113
          Bruce David Terry                   LERA           37.50%     28.1250%    Vol. 1583, Pg. 183
           Joyce M. Yowell                    LERA           37.50%     28.1250%    Vol. 1591, Pg. 114
          William R. Yowell                   LERA           37.50%     28.1250%    Vol. 1591, Pg. 116
            Shelia M. Terry                   LERA           37.50%     28.1250%    Vol. 1591, Pg. 118


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          J.M. Huber Corporation               SNW Operating            37.50%     28.1250%       Vol. 1383, Pg. 8
                                                Company, Inc.
             E.B. Johnson, et al            The Pure Oil Company        37.50%     28.1250%       Vol. 28, Pg. 209
     E.B. Johnson and Sons Estate, et al      Phillips Petroleum        37.50%     28.1250%       Vol. 59, Pg. 639
                                                   Company
            Jerlyn J. Agar, et al             Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 612
            Jerlyn J. Agar, et al             Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 617
          Robert A. Johnson, et al            Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 622
        Johnson Royalty Company               Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 624
             Philip C. Kidd, Jr.              Barrett W. Pierce         37.50%     28.1250%       Vol. 551, Pg. 626
            E.B. Johnson, et al              George Montgomery          37.50%     28.1250%       Vol. 17, Pg. 462
     J.M. Sanford and wife, Garland S.         J.O. Whittington         37.50%     28.1250%       Vol. 21, Pg. 1214
                  Sanford
          Mrs. Garland S. Sanford          J.M. Huber Corporation       37.50%     28.1250%       Vol. 127, Pg. 321
            E.B. Johnson, et al                 Dorset Carter           37.50%     28.1250%        Vol. 28, Pg. 28
            E.B. Johnson, et al                A.L. Anderson            37.50%     28.1250%       Vol. 27, Pg. 336
        Montford T. Johnson, et ux            Phillips Petroleum        37.50%     28.1250%       Vol. 155, Pg. 110
                                                   Company
             E.B. Johnson, et al               Dixon Creek Oil          37.50%     28.1250%        Vol. 5, Pg. 217
                                                   Company
             W.E. Herring, et al           J.M. Huber Corporation      100.00%      75.00%       Vol. 71, Page 264
           Neil R. Johnson, et al          J.M. Huber Corporation      100.00%      70.00%       Vol. 127, Pg. 147
              Garland Sanford              J.M. Huber Corporation      100.00%      75.00%       Vol. 103, Pg. 406
          Stanolind Oil & Gas Co.          J.M. Huber Corporation      100.00%      75.00%       Vol. 103, Pg. 4115
             J.M. Sanford, et al                Associated Oil         100.00%      75.00%        Vol. 46, Pg. 480
                                               Company, et al
    J.M. Sanford & wife, Garland Sanford   Marland Oil Company of      100.00%      75.00%        Vol. 35, Pg. 290
                                                     Texas
           Richard S. Coon, et al             DCW Production           100.00%      72.50%        Vol. 375, Pg. 110
                                                   Company
       J.A. & Leta M. Chapman Trust           DCW Production           100.00%      72.50%        Vol. 389, Pg. 407
                                                   Company
        Amoco Production Company              DCW Production           100.00%      72.50%        Vol. 389, Pg. 411
                                                   Company
             Perry Stevens, et al               Dorsett Carter         100.00%      75.00%        Vol. 28, Pg. 122
              E.B. Johnson, et al            Lawrence R. Hagy          100.00%      75.00%        Vol. 28, Pg. 20
              J.A. Whittenburg             George A. Whittenburg       100.00%      71.09%        Vol. 20, Pg. 450
           George A. Whittenburg                  C.C. Patten          100.00%      71.09%        Vol. 20, Pg. 453
            Neil R. Johnson, et al                H.F. Sears           100.00%      70.00%       Vol. 155, Pg. 418
                Perry Stevens                     H.F. Sears           100.00%      70.00%       Vol. 155, Pg. 446
              E.B. Johnson, et al               V.N. Souligny          100.00%      72.50%        Vol. 27, Pg. 288
            Neil R. Johnson, et al         J.M. Huber Corporation      100.00%      72.50%       Vol. 127, Pg. 311
         Johnson Royalty Company                    LERA               100.00%      72.50%       Vol. 1727, Pg. 181
          Johnson Royalty Account                   LERA               100.00%      72.50%       Vol. 1727, Pg. 184
             Johnson Enterprises                    LERA               100.00%      72.50%       Vol. 1727, Pg. 187
         Johnson Mineral Purchase                   LERA               100.00%      72.50%       Vol. 1727, Pg. 190
          Sallie Pritchard, a widow              J.P. Woodall          100.00%      75.00%        Vol. 66, Pg. 98


4
  The recording at Vol. 21, Pg. 121, covers others leases/wells with 100% WI% and 75% NRI%, including the
Included Wells Sanford D2, Sanford M2, Sanford 3, Chap 3, Chap 4, and Continental Sanford.
5
  Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 103, Pg. 441. The correct recording information is Vol. 103, Pg. 411, which is being
corrected herein and conveyed.

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           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 64, Pg. 4436
           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 64, Pg. 2666
           C.R. Garner, et al                   D.R. Tripplehorn         100.00%      87.50%        Vol. 69, Pg. 1656

                   INCLUDED WELLS IN HUTCHINSON COUNTY, TEXAS7

Lease                               RRC#            Well #         API #               WI%                NRI%
A K Johnson                         39798           1              23380640            37.50%             28.13%
Black                               228564          1              23333202            37.50%             28.13%
Blade Sanford                       4278            1              23330345            100.00%            75.00%
Blade Sanford                       4278            2              23330577            100.00%            75.00%
Blade Sanford                       4278            3              23330578            100.00%            75.00%
Blade Sanford                       4278            4              23330632            100.00%            75.00%
Blade Sanford                       4278            6              23330743            100.00%            75.00%

Chapp 3                             24785           3              23380247            100.00%            75.00%
Chapp 4                             24786           4              23380248            100.00%            75.00%
Continental Sanford                 919             7              23381989            100.00%            75.00%
Continental Sanford                 919             8              23381990            100.00%            75.00%
Continental Sanford                 919             10             23381991            100.00%            75.00%
Continental Sanford                 919             11             23331143            100.00%            75.00%
Davis 1R                            223864          1R             23333078            100.00%            75.00%
Dee O Gee 1                         264833          1              23333448            100.00%            70.00%
Dee O Gee 2                         276608          2              23333449            100.00%            70.00%
Diana Shaw                          253074          1R             23333419            37.50%             28.13%
Gulf Sanford A                      217267          1R             23333067            37.50%             28.13%
Hagy 1                              24887           1              23380271            100.00%            75.00%
J. Johnson                          24965           16             23380299            37.50%             28.13%
J. Johnson                          246375          17             23333339            37.50%             28.13%
Johnson 1R                          224920          1R             23331826            100.00%            75.00%
Johnson A                           4992            1              23331233            100.00%            72.50%
Johnson A                           4992            3              23332278            100.00%            72.50%
Johnson AC                          2868            1              23385258            100.00%            72.50%
Johnson AC                          2868            2              23313790            100.00%            72.50%
Johnson D                           3157            1              23305842            100.00%            75.00%
Johnson D                           3157            2              23385301            100.00%            75.00%
Johnson G                           3939            2              23333453            100.00%            72.50%
Johnson G                           3939            4              23330247            100.00%            72.50%
Johnson K                           24953           1              23380294            37.50%             28.13%
Johnson K                           211384          1R             23333036            37.50%             28.13%
Johnson O                           206970          1R             23333011            37.50%             28.13%
Klyne                               224860          1              23333070            37.50%             28.13%


6
  These three leases are in both Carson County and Hutchinson County. Due to scriveners error in the prior Deed of
Trust and Conveyance, these three leases were listed as Included Leases in Carson County. The recording
information provided in the Deed of Trust and Conveyance is a reference to the recording information in Hutchinson
County. To clarify and correct the prior scriveners error, these leases are now listed under Hutchinson County.
7
  This list is a nonexclusive list of wells from the leases listed above. Unless specifically excluded by the Excluded
Wells list in Exhibit 2, all wells from the above listed leases are to be included, whether specifically contained in
this list or not. If the lease covering a well on this list is not specifically listed in the Included Leases above, the
Ponderosa Parties are nonetheless conveying their interest in such lease(s) with respect to the well(s) listed to the
extent necessary to convey said well and the right to produce a full allowable therefrom to the PPF Parties or their
designee(s).

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Klyne                        218196     2           23333072    37.50%      28.13%
Kyle                         5316       1           23331535    100.00%     70.00%
Kyle                         5316       4           23331538    100.00%     70.00%
Kyle 3                       269610     3           23331536    100.00%     70.00%
Lil Randi                    9388       2           23333503    100.00%     75.01%
Payne Herring                719        1           23380830    100.00%     75.00%
Payne Herring                720        3           23380832    100.00%     75.00%
Payne Herring                721        4           23380833    100.00%     75.00%
Payne Herring                722        5           23380834    100.00%     75.00%
Payne Herring                723        6           23380835    100.00%     75.00%
Payne Herring                724        7           23380836    100.00%     75.00%
Payne Herring                725        8           23380837    100.00%     75.00%
Phillips C                   25073      1           23380320    37.50%      28.13%
Pruett B                     5711       1           23331581    100.00%     63.00%
Pruett B                     5711       2           23331793    100.00%     63.00%
Pruett B                     5711       4           23331833    100.00%     63.00%
Pruett B                     5711       5           23331957    100.00%     63.00%
Pruett B                     5711       9           23333512    100.00%     63.00%
RC Ware                      1299       1           23384008    100.00%     87.50%
RC Ware                      1299       2           23384009    100.00%     87.50%
RC Ware                      1299       4           23384011    100.00%     87.50%
RC Ware                      1299       7           23384014    100.00%     87.50%
RC Ware                      1299       8           23384015    100.00%     87.50%
RC Ware                      1299       9           23384016    100.00%     87.50%
RC Ware                      1299       10          23384017    100.00%     87.50%
RC Ware                      1299       11          23384018    100.00%     87.50%
RC Ware                      1299       12          23384019    100.00%     87.50%
RC Ware                      1299       13          23384020    100.00%     87.50%
RC Ware                      1299       14          23384021    100.00%     87.50%
RC Ware                      1299       15          23384022    100.00%     87.50%
RC Ware                      1299       16          23384023    100.00%     87.50%
Rice Patty                   267167     1           23333451    37.50%      28.13%
Sallie Pritchard             2212       3           23384798    100.00%     75.00%
Sallie Pritchard             2212       4           23384799    100.00%     75.00%
Sallie Pritchard             2212       5           23309312    100.00%     75.00%
Sallie Pritchard             2212       6           23384801    100.00%     75.00%
Sallie Pritchard             2212       8           23384803    100.00%     75.00%
Sallie Pritchard             2212       9           23330976    100.00%     75.00%
Sanford 3                    25258      3           23380368    100.00%     75.00%
Sanford A15                  145518     A15         23307579    100.00%     72.50%
Sanford C5                   35065      5           23380627    100.00%     75.00%
Sanford D2                   23927      D2          23380160    100.00%     75.00%
Sanford E2                   23929      E2          23380162    100.00%     75.00%
Sanford M2                   23937      M2          23380165    100.00%     75.00%
Whittenburg 5                25269      5           23380373    100.00%     71.94%
Herring 4                    23812      4           23380081    100.00%     75.00%
Johnson 2                    25251      2           23380361    100.00%     70.00%
Johnson F1                   23878      F1          23380129    100.00%     70.00%
Sanford -M-                  886        1           233-81622   100.00%     75.00%
E Herring                    977        6A          23331035    100.00%     75.00%
E Herring                    977        8           23331273    100.00%     75.00%
E Herring                    977        10          23331275    100.00%     75.00%
E Herring                    977        9           23331276    100.00%     75.00%


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E Herring                977         11            23331450   100.00%    75.00%
E Herring                977         6             23332290   100.00%    75.00%
E Herring                977         12            23333452   100.00%    75.00%
E Herring                977         3             23382245   100.00%    75.00%
E Herring                977         5             23382246   100.00%    75.00%

                                   END OF EXHIBIT 1




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                         EXCLUDED LEASES IN GRAY COUNTY, TEXAS

         Lessor                     Lessee              WI%        NRI%           Recording             Excluded
                                                                                 Information             Wells8
Alexander J. Chapman,        Roxanna Petroleum         100.00%     87.50%       Vol. 26, Pg. 328         26-27
        et ux                     Corp.

                        EXCLUDED WELLS IN GRAY COUNTY, TEXAS9

Ref. #       Lease                        RRC#           Well #       API #             WI%              NRI%
26           Chapman                      447            3            17982328          100.00%          75.00%
27           Chapman                      447            7            17982332          100.00%          75.00%


                                               END OF EXHIBIT 2




8
 Any known wells for the specific Excluded Lease is referenced below [see Excluded Well list for reference].
9
 This is a list of wells from the Included Leases in Exhibit A or Excluded Leases list above that are not being
conveyed in this settlement.

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                                            EXHIBIT D

                                      GS ENERGY DEED

                          DEED IN LIEU OF FORECLOSURE

THE STATE OF TEXAS                    §
                                      §       KNOW ALL MEN BY THESE PRESENTS:
COUNTIES OF HUTCHINSON,               §
MOORE AND CARSON                      §


        That GS Energy, LLC, a Delaware limited liability company (“Grantor”), for and in
consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other good and
valuable consideration to Grantor in hand paid by Grantee herein named, the receipt and
sufficiency of which are hereby acknowledged and confessed, has GRANTED, BARGAINED,
SOLD, and CONVEYED, and by these presents does GRANT, BARGAIN, SELL, and
CONVEY unto Borger Resources 3 LLC, a Missouri limited liability company (“Grantee”),
with a principal address at 400 N. St. Paul, Suite 505, Dallas, Texas 75201, all of the Properties
(as defined below), together with all improvements and fixtures located therein, thereon or used
in conjunction therewith, all and singular, the benefits, privileges, easements and leases therein,
thereon or in anywise appertaining thereto, and any and all rights, title, and interests of Grantor
in and to pipelines, subject, however, to the Deed of Trust and Volumetric Production Payment
(hereinafter defined) and the easements, restrictions, and other title exceptions of record affecting
the Properties. “Properties” shall mean the Grantor’s interest in oil, gas and/or mineral leases and
wells listed as “Included” in Exhibit 1 attached hereto, including the Included Leases In Carson
County, Texas; the Included Wells In Carson County, Texas; the Included Leases In Moore
County, Texas; the Included Wells In Moore County, Texas; the Included Leases In Hutchinson
County, Texas; the Included Wells In Hutchinson County, Texas; and all equipment owned by
Grantor used therein, thereon or in conjunction therewith as well as all easements and rights-of-
way owned by Grantor related thereto.

        Grantee is the designee of PPF 3 LLC (“Holder”), the sole owner and holder of that
certain Deed of Trust and Volumetric Production Payment (hereafter defined) arising from the
transaction between PPF 3 LLC and GS Energy, LLC, as memorialized in the Conveyance of
Term Overriding Royalty Interest (“Conveyance”), Production and Delivery Agreement
(“PDA”), and Deed of Trust, Mortgage, Assignment, Security Agreement and Financing
Statement (“Deed of Trust”), all of which were dated effective December 1, 2016 and which
assigned 75,000 barrels of oil from the oil and gas leases and wells described in Exhibit A to the
Conveyance, the PDA, and the Deed of Trust.

       TO HAVE AND TO HOLD the Properties, together with all and singular, the rights and
appurtenances thereto in anywise belonging unto Grantee, its legal representatives, successors,
and assigns FOREVER; and Grantor does hereby bind itself and its legal representatives,
successors, and assigns to WARRANT AND FOREVER DEFEND all and singular the

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EXHIBIT D - SETTLEMENT AGREEMENT                                                          Page 1 of 11
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Properties, subject as aforesaid, unto Grantee, its legal representatives, successors, and assigns,
and subject, however, as aforesaid.

       But it is expressly agreed and understood hereby that:

        A.     Notwithstanding the provisions hereof, the liens and security interests created by
the Deed of Trust and the Volumetric Production Payment (the “Liens”) for the Properties are
not released or relinquished in any manner or respect whatsoever and shall remain in existence
and in full force and effect until released by written instrument (the “Release”) duly executed
and acknowledged and filed of record in the Office of the County Clerk where the Properties are
located in Texas. The Deed of Trust (as defined below) and the Volumetric Production Payment
(as defined below) are each hereby expressly amended to provide that this Deed in Lieu of
Foreclosure shall not cause the termination of the Deed of Trust or the termination of the
Volumetric Production Payment with respect to the Properties, but the same shall continue in full
force and effect, until released by written instrument as described in the preceding sentence.
Such Release may be made as, if and when Grantee, or its successors or assigns, shall determine
in the exercise of its sole discretion. The Liens include, without limitation, the security interests
created by that certain Deed of Trust, Mortgage, Security Agreement, Assignment and Financing
Statement dated effective December 1, 2016, executed by Grantor, recorded as Document
Number 00363034, Book OR, Vol. 1963, Page 246 in the Real Property Records of Hutchinson
County, Texas, as Document Number 2016-00001338, Vol. 666, Page 361 in the Real Property
Records of Carson County, Texas, and as Document Number 0192823, Vol. 784, Page 861 in the
Real Property Records of Moore County, Texas (the “Deed of Trust”); and the overriding royalty
interests conveyed to Grantee pursuant to that certain Conveyance of Overriding Royalty Interest
dated effective December 1, 2016, from Grantor to Grantee, recorded as Document Number
00363033, Book OR, Vol. 1963, Page 222 in the Real Property Records of Hutchinson County,
Texas, as Document Number 0192822, Vol. 784, Page 837 of the Real Property Records of
Moore County, Texas, and as Document Number 2016-00001337, Vol. 666, Page 336, of the
Real Property Records of Carson County, Texas (the “Volumetric Production Payment”).

        B.      For purposes of priority as between (i) intervening or inferior liens and
encumbrances, if any, on or against the Properties, and (ii) those Liens created by the Deed of
Trust and pursuant to the Volumetric Production Payment, it is the intent of Grantor and Grantee
that any and all rights of Grantee to exercise its remedies of foreclosure by private power of sale
pursuant to nonjudicial foreclosure or by judicial foreclosure of any of such Liens and the right
to exercise any other remedies are expressly preserved hereby and for purposes of limitations and
any other applicable time bar defense, are expressly extended as evidenced hereby. The priority
of the Lien of the Deed of Trust as to the Properties as well as the Volumetric Production
Payment obligations to which the Properties are subject are intended to be and shall remain in
full force and effect and nothing herein contained shall be construed to subordinate the priority
of the Lien of the Deed of Trust to any other liens or encumbrances whatsoever.

       C.     Neither Grantor nor Grantee intend that there be, nor shall there in any event be, a
merger of any of the Liens with the title to the interest of Grantee in and to the Properties
obtained by Grantee by virtue of the conveyance made hereby, but do intend that the said Liens



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and title to the Properties be kept separate, and such Liens shall merge only under one (1) or
more of the following conditions:

       1.              The foreclosure of the Liens; or

       2.      The sale of the Properties pursuant to the power of sale granted in the Deed of
               Trust; or

       3.      Holder, its successor or assigns, including Grantee, execute and file in the Deed
               Records of the foregoing Counties in Texas, the Release or other instrument
               specifically agreeing to permit the merger of the Liens with the title or other
               interests of Grantee in the Properties.

                In this regard, such interests shall not be merged in the event of the sale of the
Properties by Grantee, its successors or assigns, or the granting or acceptance of additional liens
or interests in the Properties, unless a separate written Release is executed and filed for public
record, as contemplated by subsection C.(3) above.

        D.      This Deed in Lieu of Foreclosure (and the conveyance made hereby) is being
voluntarily executed, delivered, and accepted in lieu of foreclosure, as part of a Settlement
Agreement and Release of Liability being executed contemporaneously herewith by and between
Petroleum Production Finance, Inc.; PPF 2 LLC; PPF 3 LLC; GS Energy, LLC; Ponderosa
Energy, LLC; Richard F. Sands; and Casimir Capital L.P. (the “Settlement Agreement”). With
respect to the transfer of title to the Properties to Grantee hereunder, the same shall be interpreted
and construed the same as a foreclosure of the Liens, legally and rightfully performed under the
laws of the State of Texas, and as an absolute conveyance to Grantee of all right, title and interest
of Grantor in and to the Properties, including specifically, but without limitation, any equity or
rights of redemption of Grantor in the Properties (or any portion thereof or interest therein).

        E.      In the event this conveyance is set aside for any reason whatsoever (i) the rights
and interests evidenced by the Deed of Trust and Volumetric Production Payment shall be
revived, and any cancellation and extinguishment of such obligations, whether in whole or in
part, shall be automatically revoked; (ii) the terms and provisions of the Liens and obligations of
Grantor evidenced by the Deed of Trust and the Volumetric Production Payment shall be and
continue in full force and effect; (iii) Grantee shall have the right to foreclose on the rights and
interests granted in the Deed of Trust and otherwise securing the rights and interests secured and
to take such other actions against Grantor or the Properties as may be permitted at law or in
equity; (iv) all costs of Grantee incurred in connection with the enforcement of the rights and
remedies of Grantee shall be deemed a part of the obligations secured by the Dead of Trust and
payable upon demand by Grantor; and (v) all of the respective rights and remedies of Grantor
and of Grantee against the other shall be revived and restored in the same manner as if this Deed
in Lieu of Foreclosure and the transactions contemplated herein had not been entered into.
Notwithstanding anything in this Deed in Lieu of Foreclosure to the contrary, Grantee covenants
and agrees that, except for any remedies related to a breach of the warranty of title to the
Properties herein conveyed or a breach of the Settlement Agreement, Grantee will seek no
remedies against Grantor with respect to the Properties or the transactions contemplated by the
Settlement Agreement.

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EXHIBIT D - SETTLEMENT AGREEMENT                                                           Page 3 of 11
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         F.      Grantor acknowledges and agrees that the conveyance of the Properties pursuant
hereto is an absolute conveyance of all of Grantor’s right, title, and interest in and to the
Properties and is not intended (now, or in the future) to constitute a deed of trust, mortgage, trust
conveyance or other security agreement of any nature whatsoever. Grantor hereby acknowledges
that, after the conveyance hereunder, Grantor shall have no further interest or claim with respect
to the Properties, including, without limitation, the rights to (1) manage the Properties; (2)
occupy or use the Properties in any manner; (3) receive any revenue from the Properties; (4)
receive any proceeds from the sale, transfer, financing or operation of the Properties; or (5)
repurchase, redeem or regain any right, title or interest in the Properties, or in any portion
thereof.

       G.      Grantor and Grantee covenant, acknowledge and agree that this Deed in Lieu of
Foreclosure is executed in connection with the Settlement Agreement.




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EXHIBIT D - SETTLEMENT AGREEMENT                                                          Page 4 of 11
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       IN WITNESS HEREOF, Grantor has caused this Deed in Lieu of Foreclosure to be
executed as of the date set forth in the acknowledgement below but effective for all purposes as
of _______________________, 2018.

                                            GRANTOR:

                                            GS Energy, LLC, a Delaware limited liability
                                            company


                                            By:
                                            Name:
                                            Title:



                                            Acknowledged and Accepted:

                                            GRANTEE:

                                            Borger Resources 3 LLC

                                            By:
                                            Name:
                                            Title:


                                            HOLDER:

                                            PPF 3 LLC

                                            By:
                                            Name:
                                            Title:




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THE STATE OF _________           §
                                 §
COUNTY OF ____________           §

        The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of GS Energy, LLC, a Delaware
limited liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:



THE STATE OF _________           §
                                 §
COUNTY OF ____________           §

      The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of Borger Resources 3 LLC, a
Missouri limited liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:




THE STATE OF TEXAS               §
                                 §
COUNTY OF TRAVIS                 §

         The foregoing instrument was ACKNOWLEDGED before me on the _______ day of
____________, 2018 by ___________, as ____________ of PPF 3 LLC, a Delaware limited
liability company, on behalf of said limited liability company.


                                          Notary Public, State of ____________________
My commission expires:




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EXHIBIT D - SETTLEMENT AGREEMENT                                            Page 6 of 11
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                        INCLUDED LEASES IN CARSON COUNTY, TEXAS

           Lessor                                  Lessee                        DATE        Recording Information
Trustees of S. B. Burnett et al    J.E. Crosbie                                4/3/1924      Vol. 31, Pg. 635
Trustees of S. B. Burnett et al    J.M. Huber Corporation                      6/2/1936      Vol. 62, Pg. 560
B F and Ida Block                  H C Tyrrell                                 4/19/1924     Vol. 29, Pg. 402
Greg Bobbitt                       D J Sargent                                 6/16/1998     Vol. 288, Pg. 420
Mark Bobbitt                       D J Sargent                                 6/16/1988     Vol. 288, Pg. 422
Louise Casey, et al                Charles T Wagner                            9/15/1949     Vol. 86, Pg. 170
Louise Casey, et al                Charles T Wagner                            3/8/1950      Vol. 87, Pg. 210
R C Ware, et al                    Drilling and Exploration Company, Inc.      3/9/1953      Vol. 94, Pg. 580
R C Ware, et al                    Drilling and Exploration Company, Inc.      5/16/1953     Vol. 95, Pg. 292

                        INCLUDED WELLS IN CARSON COUNTY, TEXAS1

Lease                     RRC#              Well #            API #                   WI%                  NRI%
Burnett -A-               100               1                 65-80957                100.00%              75.00%
Burnett -A-               100               3                 65-80959                100.00%              75.00%
Burnett -A-               100               4                 65-80960                100.00%              75.00%
Burnett -A-               100               5                 65-80961                100.00%              75.00%
Burnett -A-               137588            7                 65-31839                100.00%              75.00%
Burnett -A-               100               2W                65-02435                100.00%              75.00%
Burnett -B-               101               1                 65-80962                100.00%              68.75%
Burnett -B-               101               2                 65-80963                100.00%              68.75%
Burnett -B-               101               3                 65-80964                100.00%              68.75%
Burnett -B-               101               4                 65-80965                100.00%              68.75%
Burnett -B-               101               5                 65-02445                100.00%              68.75%
Pickens                   2482              4                 65-30778                100.00%              75.00%
Pickens                   2482              5                 65-30797                100.00%              75.00%
Pickens                   2482              3W                65-01093                100.00%              75.00%
Ware -A-                  79                1                 65-00407                100.00%              75.00%
Ware -A-                  79                3                 65-02635                100.00%              75.00%
Ware -A-                  79                4                 65-00435                100.00%              75.00%
Ware -A-                  79                9                 65-02416                100.00%              75.00%
Ware -A-                  79                10                65-00536                100.00%              75.00%
Ware -A-                  79                13                065-02638               100.00%              75.00%
Ware -A-                  79                14                65-00436                100.00%              75.00%
Ware -A-                  79                15                65-02419                100.00%              75.00%
Ware -A-                  79                16                65-00431                100.00%              75.00%
Ware -A-                  79                17                65-02639                100.00%              75.00%
Ware -A-                  79                18                65-02640                100.00%              75.00%
Ware -A-                  79                23                65-30640                100.00%              75.00%
Ware -A-                  79                24                65-30641                100.00%              75.00%
Ware -A-                  79                25                65-30665                100.00%              75.00%
Ware -A-                  79                26                65-30668                100.00%              75.00%
Ware -A-                  79                27                65-30666                100.00%              75.00%


1
  This list is a nonexclusive list of wells from the leases listed above. All wells from the above listed leases are to be
included, whether specifically contained in this list or not. If the lease covering a well on this list is not specifically
listed in the Included Leases above, the Ponderosa Parties are nonetheless conveying their interest in such lease(s)
with respect to the well(s) listed to the extent necessary to convey said well and the right to produce a full allowable
therefrom to the PPF Parties or their designee(s).


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EXHIBIT D - SETTLEMENT AGREEMENT                                                                              Page 7 of 11
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Ware -A-                  79                28                65-30667                100.00%              75.00%
Ware -A-                  79                29                65-30659                100.00%              75.00%
Ware -A-                  79                1038              65-30736                100.00%              75.00%
Ware -B-                  762               21                65-30664                100.00%              75.00%
Ware -B-                  762               22                65-30661                100.00%              75.00%
Ware -B-                  762               23                65-30662                100.00%              75.00%
Ware -B-                  762               24                65-30663                100.00%              75.00%
Ware -B-                  762               25                65-30660                100.00%              75.00%
Ida Block                 143               2                 65-81622                100.00%              75.00%
Ida Block                 143               3                 65-81623                100.00%              75.00%
Ida Block                 143               4                 65-81624                100.00%              75.00%
Ida Block                 143               5                 65-81625                100.00%              75.00%
Ida Block                 143               7                 65-81627                100.00%              75.00%
Ida Block                 143               9                 65-30815                100.00%              75.00%
Bobbitt                   4417              1                 65-30621                100.00%              75.00%
Bobbitt                   4417              2                 65-31306                100.00%              75.00%
Bryan                     177               1                 65-81761                100.00%              75.00%
Bryan                     177               2                 65-30614                100.00%              75.00%
Bryan                     177               3                 65-30581                100.00%              75.00%
Bryan                     177               4                 65-30979                100.00%              75.00%

                         INCLUDED LEASES IN MOORE COUNTY, TEXAS

                Lessor                                  Lessee                    Date      Recording Information
Elizabeth Nelson                            Sinclair Prarie Oil Company        10/9/1935    Vol. 55, Pg. 50
Evelyn & Standish Holmes                    Sinclair Prarie Oil Company        10/9/1935    Vol. 55, Pg. 37
Foster Petroleum Corporation                Direction Energy Corporation       5/5/1983     Vol. 314, Pg. 401
Cities Service Oil and Gas Corporation      Direction Energy Corporation       8/12/1983    Vol. 318, Pg. 744
Harriett D. Witherbee, et al                Phillips Petroleum Company         9/7/1939     Vol. 72, Pg. 131
Nellie Loeber, et al                        Phillips Petroleum Company         4/30/1937    Vol. 65, Pg. 206

                         INCLUDED WELLS IN MOORE COUNTY, TEXAS2

Lease                        RRC#             Well #           API #                   WI%                  NRI%
Nellie Loeber                1798             6                341-30624               100.00%              68.75%
Nellie Loeber                1798             8                341-30822               100.00%              68.75%
Witherbee                    4633             1                341-30595               97.50%               68.25%
Witherbee                    4633             2                341-30784               97.50%               68.25%
Witherbee                    4633             3                341-31117               97.50%               68.25%
Witherbee                    4633             4                341-31116               97.50%               68.25%
Cooper                       5560             1                341-31016               49.50%               34.65%
Cooper                       5560             2                341-31297               49.50%               34.65%

                    INCLUDED LEASES IN HUTCHINSON COUNTY, TEXAS

        Lessor                              Lessee                         Date        Recording Information

2
  This list is a nonexclusive list of wells from the leases listed above. All wells from the above listed leases are to be
included, whether specifically contained in this list or not. If the lease covering a well on this list is not specifically
listed in the Included Leases above, the Ponderosa Parties are nonetheless conveying their interest in such lease(s)
with respect to the well(s) listed to the extent necessary to convey said well and the right to produce a full allowable
therefrom to the PPF Parties or their designee(s).


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EXHIBIT D - SETTLEMENT AGREEMENT                                                                              Page 8 of 11
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  Otis Phillips, et al            Shell Petroleum Company                9/4/1936         Vol. 73, Pg. 2153
E and Lucille Watkins                Skelly Oil Company                  3/16/1933         Vol. 63, Pg. 42
   R C Ware, et al         Drilling and Exploration Company, Inc.        3/9/1953         Vol. 155, Pg. 288
  J W Moore, et ux           Southwestern Petroleum Company             11/27/1922         Vol. 24, Pg. 88
    C T Ware, et al                       J R Phillips                  8/17/1937          Vol. 78, Pg. 232
   R C Ware, et al         Drilling and Exploration Company, Inc.       5/16/1953         Vol. 155, Pg. 475
Estate of Sue Stevens            Tri-State Petroleum Investors           2/9/1981         Vol. 483, Pg. 2394
  W.L. Watters, et al          Standard Oil Company of Texas            8/21/1964         Vol. 305, Pg. 373
 Roy Stevenson et al             Suerco Energy Development              6/26/1984         Vol. 506, Pg. 376
    Ellis and Mary                       S G Cockrell                   1/20/1926          Vol. 33, Pg. 520
        Cockrell
   C R Garner, et al                  Texas Company                      5/10/1921         Vol. 20, Pg. 430
      Joe Harlan              North Star Petroleum Corporation            5/1/1967         Vol. 337, Pg. 351
  Billie Ione Gilliam         North Star Petroleum Corporation            2/2/1967         Vol. 335, Pg. 370
 and John W. Gilliam

                    INCLUDED WELLS IN HUTCHINSON COUNTY, TEXAS5

Lease                      RRC#            Well #         API #                 WI%                NRI%
Jimmy II                   5437            1              233-31579             100.00%            75.00%
Jimmy II                   5437            2              233-32279             100.00%            75.00%
Lasater                    1948            3              233-84541             100.00%            75.00%
Lasater                    1948            4              233-10499             100.00%            75.00%
Lasater                    1948            5              233-84543             100.00%            75.00%
Lasater                    1948            7              233-10501             100.00%            75.00%
Lasater                    1948            2W             233-10707             100.00%            75.00%
Nellie Loeber              1798            2              233-84409             100.00%            68.75%
Nellie Loeber              1798            3              233-84410             100.00%            68.75%
Nellie Loeber              1798            lW             233-32771             100.00%            68.75%
Otis Phillips              2363            3              233-84959             100.00%            65.63%
Otis Phillips              2363            4              233-84960             100.00%            65.63%
Otis Phillips              2363            5              233-30945             100.00%            65.63%
Southbend                  100834          1              233-31294             56.88%             47.15%
Ware                       1242            1              233-07819             100.00%            75.00%
Ware                       1242            2              233-30087             100.00%            75.00%
Ware -A-                   79              2              233-07824             100.00%            75.00%
Ware -A-                   79              5              233-01381             100.00%            75.00%
Ware -A-                   79              6              233-01383             100.00%            75.00%
Ware -A-                   79              11             233-01386             100.00%            75.00%
Ware -A-                   79              19             233-80697             100.00%            75.00%
Ware -A-                   79              20             233-80698             100.00%            75.00%


3
  Due to a scriveners error in the prior Deed of Trust and Conveyance, the recording information for this lease was
incorrectly noted as Vol. 72, Pg. 215. The correct recording information is Vol. 73, Pg. 215, which is being
corrected herein and conveyed.
4
  This lease is associated with the Jimmy II and Southbend wells that were included in the prior deed of trust and
conveyance - although the lease was not specifically listed.
5
  This list is a nonexclusive list of wells from the leases listed above. All wells from the above listed leases are to be
included, whether specifically contained in this list or not. If the lease covering a well on this list is not specifically
listed in the Included Leases above, the Ponderosa Parties are nonetheless conveying their interest in such lease(s)
with respect to the well(s) listed to the extent necessary to convey said well and the right to produce a full allowable
therefrom to the PPF Parties or their designee(s).


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Ware -A-          79          21        233-80699     100.00%       75.00%
Ware -A-          79          22        233-80700     100.00%       75.00%
Ware -A-          79          1030      233-30690     100.00%       75.00%
Ware -A-          79          1031      233-30689     100.00%       75.00%
Ware -A-          79          1032      233-30688     100.00%       75.00%
Ware -A-          79          1033      233-30687     100.00%       75.00%
Ware -A-          79          1034      233-30686     100.00%       75.00%
Ware -A-          79          1035      233-30683     100.00%       75.00%
Ware -A-          79          1036      233-30684     100.00%       75.00%
Ware -A-          79          1037      233-30685     100.00%       75.00%
Ware -A-          79          12W       233-01387     100.00%       75.00%
Ware -B-          762         1         233-01357     100.00%       75.00%
Ware -B-          762         2         233-80972     100.00%       75.00%
Ware -B-          762         3         233-80973     100.00%       75.00%
Ware -B-          762         4         233-80974     100.00%       75.00%
Ware -B-          762         5         233-80975     100.00%       75.00%
Ware -B-          762         6         233-80976     100.00%       75.00%
Ware -B-          762         7         233-80977     100.00%       75.00%
Ware -B-          762         8         233-80978     100.00%       75.00%
Ware -B-          762         9         233-80979     100.00%       75.00%
Ware -B-          762         10        233-80980     100.00%       75.00%
Ware -B-          762         11        233-80981     100.00%       75.00%
Ware -B-          762         12        233-80982     100.00%       75.00%
Ware -B-          762         13        233-80983     100.00%       75.00%
Ware -B-          762         14        233-80984     100.00%       75.00%
Ware -B-          762         15        233-80985     100.00%       75.00%
Ware -B-          762         16        233-80986     100.00%       75.00%
Ware -B-          762         17        233-80987     100.00%       75.00%
Ware -B-          762         18        233-80988     100.00%       75.00%
Ware -B-          762         20        233-80990     100.00%       75.00%
Ware -B-          762         2026      233-30697     100.00%       75.00%
Ware -B-          762         2027      233-30696     100.00%       75.00%
Ware -B-          762         2028      233-30695     100.00%       75.00%
Ware -B-          762         2030      233-30693     100.00%       75.00%
Ware -B-          762         2031      233-30692     100.00%       75.00%
Ware -B-          762         2032      233-30691     100.00%       75.00%
Watkins -A-       1202        1         233-83279     100.00%       75.00%
Watkins -A-       1202        2         233-83280     100.00%       75.00%
Watkins -A-       1202        3         233-83281     100.00%       75.00%
Watkins -A-       1202        4         233-83282     100.00%       75.00%
Watkins -A-       1202        5         233-83283     100.00%       75.00%
Watkins -A-       1202        6         233-83284     100.00%       75.00%
Watkins -A-       1202        7         233-83285     100.00%       75.00%
Watkins -A-       1202        8         233-83286     100.00%       75.00%
Watkins -A-       1202        10        233-83288     100.00%       75.00%
Watkins -A-       1202        12        233-83290     100.00%       75.00%
Watkins -A-       1202        13G       233-12965     100.00%       75.00%
J W Moore         1276        1         233-83828     100.00%       75.00%
J W Moore         1276        2         233-83829     100.00%       75.00%
J W Moore         1276        4         233-83830     100.00%       75.00%
J W Moore         1276        5         233-83831     100.00%       75.00%
J W Moore         1276        7         233-83832     100.00%       75.00%
J W Moore         1276        8G        233-10484     100.00%       75.00%


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J W Moore            1276         9         233-83834     100.00%       75.00%
J W Moore            1276         10        233-83835     100.00%       75.00%
J W Moore            1276         11        233-83836     100.00%       75.00%
J W Moore            1276         12        233-83837     100.00%       75.00%
J W Moore            1276         14        233-83839     100.00%       75.00%
W L Watters          43243        1         233-80656     91.67%        68.06%
C R Garner "B"       1271         4         233-83771     100.00%       75.00%
C R Garner "B"       1271         6         233-83773     100.00%       75.00%
C R Garner "B"       1271         7G        233-83774     100.00%       75.00%
C R Garner "B"       1271         8         233-83775     100.00%       75.00%
C R Garner "B"       1271         11        233-83776     100.00%       75.00%
C R Garner "B"       1271         12        233-83777     100.00%       75.00%
C R Garner "B"       1271         13        233-83778     100.00%       75.00%
E P Hackley          42528        1         233-20100     68.43%        52.13%
Sanford -M-          886          1         233-81622     100.00%       75.00%
Roy O Stevenson      5899         lA        233-31948     93.50%        67.25%
Roy O Stevenson      5899         2A        233-31949     93.50%        67.25%
Roy O Stevenson      5899         3A        233-32126     93.50%        67.25%
Killough             3797         1         233-85495     100.00%       75.00%
Killough             3797         2         233-85496     100.00%       75.00%
Killough             3797         3         233-85497     100.00%       75.00%
Killough             3797         4         233-85498     100.00%       75.00%
Killough             3797         5W        233-30230     100.00%       75.00%




                                       END OF EXHIBIT 1




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                                    EXHIBIT E

                             WIRING INSTRUCTIONS


Bank:              Signature Bank, NY
                   261 Madison Ave.
                   New York, NY 10036
SWIFT CODE:        SIGNUS33
ABA #:             026013576

Account:           Ponderosa Energy LLC
                   745 Fifth Ave.
                   New York, NY 10151

Account #:         1502705896




EXHIBIT E - SETTLEMENT AGREEMENT                                          Page 1 of 1
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                                    EXHIBIT F

                           AD VALOREM TAXES OWED

                        PART 1 – PONDEROSA PROPERTIES

                                                   Amount Owed         Amount Owed
          Lease             County Assessing Tax     if Paid by       if Paid by April
                                                   March 31, 2018         30, 2018
Archer B 7G                Gray                             $69.19              $70.46
Archer B&C                 Gray                            $697.19             $709.98
Archer C 2G                Gray                             $69.19              $70.46
Blade Sanford                                                   $0                  $0
Chapman                    Gray                            $136.16             $138.66
Chapp 3 & Chapp 4          Hutchinson                      $579.59             $590.22
Continetal Sanford         Hutchinson                      $272.26             $277.26
CS Barrett                 Gray                            $321.11             $326.89
Davis 1R                   Hutchinson                       $32.01              $32.60
Dee O Gee 1                Hutchinson                           $0                  $0
Dee O Gee 2                Hutchinson                      $286.94             $292.21
E Herring                  Hutchinson                      $421.88             $429.60
Foxx                       Gray                          $1,982.05           $2,018.41
Hagy 1                                                          $0                  $0
Herring                    Hutchinson                      $676.51             $688.92
Herring 4                  Hutchinson                      $459.90             $468.34
Johnson 1                  Hutchinson                       $79.66              $81.12
Johnson 1R                 Hutchinson                    $3,988.91           $4,062.10
Johnson 2                  Hutchinson                       $73.62              $74.97
Johnson A                  Hutchinson                      $331.47             $337.55
Johnson A                  Hutchinson                      $104.75             $106.67
Johnson AC                                                      $0                  $0
Johnson D                  Hutchinson                      $555.78             $565.98
Johnson F1                 Hutchinson                       $68.95              $70.22
Johnson G                  Hutchinson                      $825.70             $840.85
Johnson Y1                 Gray                             $65.48              $66.68
Johnson Y1                 Gray                             $68.26              $69.51
Kirby                      Carson                          $107.48             $109.46
Kyle                       Hutchinson                      $169.41             $172.52
Kyle 3                     Hutchinson                       $75.64              $77.02
Lil Randi                  Hutchinson                       $63.79              $64.96
National                   Gray                            $544.85             $554.84
PA Worley                  Gray                            $166.20             $169.25
Payne Herring              Hutchinson                      $555.64             $565.83



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                                                     Amount Owed         Amount Owed
          Lease               County Assessing Tax     if Paid by       if Paid by April
                                                     March 31, 2018         30, 2018
Payne Herring (Mo Tex)       Hutchinson                      $106.70             $108.64
Pruett B                     Hutchinson                      $393.02             $400.23
RC Ware                      Hutchinson                      $819.42             $834.45
Sallie Pritchard             Hutchinson                      $404.50             $411.92
Sanford 3                    Hutchinson                      $302.52             $308.07
Sanford 3                    Hutchinson                       $68.95              $70.22
Sanford A15                  Hutchinson                      $613.10             $624.35
Sanford C5                   Hutchinson                      $241.25             $245.68
Sanford D2                   Hutchinson                       $90.75              $92.42
Sanford E2                   Hutchinson                           $0                  $0
Sanford M2                   Hutchinson                      $456.80             $465.18
Whittenburg 5                Hutchinson                      $614.26             $625.53
Worley                       Gray                            $835.11             $850.44
Worley Reynolds              Gray                            $275.02             $280.06
TOTAL Ponderosa                                           $19,070.97          $19,420.73



                           PART 2 – GS ENERGY PROPERTIES

                                                     Amount Owed         Amount Owed
          Lease               County Assessing Tax     if Paid by       if Paid by April
                                                     March 31, 2018         30, 2018
Bobbitt                      Carson                          $107.48             $109.46
Bryan                        Carson                          $161.29             $164.25
Burnett -A-                  Carson                        $2,794.11           $2,845.37
Burnett -B-                  Carson                          $308.23             $313.89
Burnett Estate               Carson                          $619.00             $619.00
C R Garner "B"               Hutchinson                      $388.45             $395.58
Cooper                       Moore                           $144.72             $144.72
E P Hackley                                                       $0                  $0
Ida Block                    Carson                          $268.90             $273.84
J W Moore                    Hutchinson                      $279.68             $284.81
J W Moore                    Hutchinson                      $341.85             $348.12
Jimmy II                     Hutchinson                      $147.23             $149.93
Killough                     Hutchinson                      $390.82             $397.99
Lasater                      Hutchinson                      $537.32             $547.17
Nellie Loeber                Hutchinson                      $200.00             $203.67
Nellie Loeber                Moore                           $675.00             $675.00
Otis Phillips                Hutchinson                      $313.53             $319.28



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                                                         Amount Owed         Amount Owed
          Lease                   County Assessing Tax     if Paid by       if Paid by April
                                                         March 31, 2018         30, 2018
Otis Phillips                    Hansford                        $665.56             $677.78
Pickens                          Carson                          $101.95             $103.82
Roy O Stevenson                  Hutchinson                       $83.64              $85.17
Roy O Stevenson                  Hansford                        $177.54             $180.80
Sanford -M-                      Hutchinson                       $73.62              $74.97
Southbend                        Hutchinson                       $24.46              $24.91
W L Watters                      Hutchinson                       $20.93              $21.31
Ware                             Hutchinson                      $155.38             $158.23
Ware -A-                         Carson                          $840.79             $856.22
Ware -B-                         Hutchinson                           $0                  $0
Watkins -A-                      Hutchinson                      $414.56             $422.17
Witherbee                        Moore                         $1,631.79           $1,631.79
Ware A (Stinn-Tex)               Hutchinson                    $1,067.87           $1,087.12
Ware B (Stinn-Tex)               Carson                          $653.92             $665.70
TOTAL GS Energy                                               $13,589.62          $13,782.07


                      PART 3 – PRE-PETITION PROPERTY TAXES


Name of           Point of           Phone           Email                  Amount
Creditor          Contact
Hutchinson        Blake Newton       806‐359‐3188    bnewton@pbfcm.com $33,508.62
County Tax
Office
Gray County       Blake Newton       806‐359‐3188    bnewton@pbfcm.com $7,311.98
Tax Office
Carson County                                                               $2,445.20
(other)
TOTAL                                                                       $43,265.80


                                         SUMMARY

                         Ponderosa Energy        $19,420.73

                         GS Energy               $13,782.07

                         Other                   $43,265.80

                         TOTAL                   $76,468.60



EXHIBIT F - SETTLEMENT AGREEMENT                                                   Page 3 of 3
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                                                   EXHIBIT G

                                                     ORDER

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
In re:
                                                                   Chapter 11
       PONDEROSA ENERGY, LLC and                                   Case No. 17-13484-SHL
      GS ENERGY, LLC                                               (Jointly Administered)

                                             Debtors.
------------------------------------------------------------   x

            ORDER AUTHORIZING AND APPROVING SETTLEMENT
     AND SALE AGREEMENT BY AND AMONG THE DEBTORS AND CERTAIN
   SECURED CREDITORS PURSUANT TO SECTION 105 OF THE BANKRUPTCY
    CODE AND BANKRUPTCY RULES 2002 AND 9019; AND AUTHORIZING AND
    APPROVING PRIVATE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
   ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, AND INTERESTS UNDER
     SUCH SETTLEMENT AND PURSUANT TO SECTIONS 105 AND 363 OF THE
        BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004

         Upon the motion dated March __, 2018 [ECF No. __] (the “Motion”) of Ponderosa

Energy, LLC and GS Energy, LLC, as debtors and debtors in possession (together, the

“Debtors”) seeking entry of an order authorizing and approving (i) the Settlement and Sale

Agreement by and among the Debtors and certain secured creditors, attached as Exhibit 1 hereto

(the “Agreement”), and (ii) the private sale of substantially all of the Debtors’ assets free and

clear of all liens, claims, and interests under such Agreement, pursuant to Sections 105 and 363

of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and 9019; and the Court having

conducted a hearing (the “Hearing”) on ______________ __, 2018, and having determined at the

Hearing that (a) entry into the Agreement constitutes the exercise by the Debtors of sound

business judgment, and is in the best interests of the Debtors, their estates and creditors, and all

parties in interest, and (b) the consideration provided by Petroleum Production Finance, Inc.,



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PPF 2 LLC, and PPF 3 LLC (the “PPF Parties”) and their assigns, including Borger Resources 2

LLC, a Missouri limited liability company, and Borger Resources 3 LLC, a Missouri limited

liability company (the “PPF Transferees”), pursuant to the Agreement is fair and adequate and

will provide a greater recovery for the Debtors’ estates than would be provided by any other

available alternative; and all parties in interest having been heard or having had the opportunity

to be heard regarding the sale (the “Sale”) of the properties listed in Exhibit A to the Agreement

(the “Properties”) to the PPF Transferees; and the Court having reviewed and considered the

Motion, the materials submitted by the Debtors in support of the Motion, the Agreement, and the

arguments of counsel made and the evidence adduced at the Hearing; and upon the record of the

Hearing and this chapter 11 case (the “Case”), and after due deliberation thereon, and good cause

appearing therefor:

IT IS HEREBY FOUND AND DETERMINED THAT:27

       A.        The Court has jurisdiction to hear and determine the Motion and to grant the relief

requested in the Motion pursuant to 28 U.S.C. § 157 and 1334(b). This is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2).

       B.        Venue of this Chapter 11 Case and the Motion in this district is proper under 28

U.S.C. § 1408.

       C.        The statutory and legal predicates for the relief requested in the Motion are §§ 105

and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101‒1532 (as amended, the

“Bankruptcy Code”), and Rules 2002, 6004, and 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).



27
       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
       findings of fact to the fullest extent of the law. See Fed. R. Bankr. P. 7052.



EXHIBIT G - SETTLEMENT AGREEMENT                                                                      Page 2 of 13
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       D.      Notice of the Motion and the Hearing has been provided to: (i) the Office of the

United States Trustee for the Southern District of New York; (ii) counsel to the PPF Parties; (iii)

the Internal Revenue Service; (iv) all state and local taxing authorities and recording offices

which have a reasonably known interest in the relief requested; (v) all creditors and other parties

set forth on the Debtors’ Schedules and Creditor Matrix maintained in this case; and (vi) all other

parties required to receive notice of this Motion pursuant to Bankruptcy Rule 2002.

       E.      The notice given by the Debtors of the Motion, the Agreement, the Hearing, and

the Sale constitutes good and sufficient notice of the relief granted by this Order and no further

notice is required. A reasonable opportunity to object or be heard regarding the relief granted by

this Order has been afforded to those parties entitled to notice pursuant to Bankruptcy Rule

6004(a).

       F.      Entry into the Agreement constitutes the exercise by the Debtors of sound

business judgment, and is in the best interests of the Debtors, their estate and creditors, and all

parties in interest. The Debtors have articulated good and sufficient business reasons justifying

entry into the Agreement with the PPF Parties.         The consideration provided by the PPF

Transferees pursuant to the Agreement (i) is fair and adequate, (ii) will provide a greater

recovery for the Debtors’ estates than would be provided by any other available alternative, and

(iii) constitutes reasonably equivalent value and fair consideration (as those terms are defined in

each of the Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, and § 548 of

the Bankruptcy Code) under the Bankruptcy Code and under applicable law. Additionally, the

Agreement is a reasonable compromise and resolution of all of the disputes between the Debtors

and the PPF Parties and of the PPF Parties’ claims against the Debtors, the Properties, and the

Debtors’ estates.



EXHIBIT G - SETTLEMENT AGREEMENT                                                        Page 3 of 13
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       G.      The settlement among the Debtors, the PPF Parties, Richard Sands, and Casimir

Capital L.P. embodied in the Agreement and described in the Motion is fair and equitable and is

in the best interests of the Debtors and their estates, because it will allow for the Debtors to

expeditiously maximize the value of their assets, fully and finally resolve all litigation and other

disputes among the parties related to the Case, provide for transfer of the Properties to the PPF

Parties, which is a reasonable compromise of the PPF Parties’ potential claims against the

Debtors’ estates, and potentially provide a means for payment of administrative and other claims

that would otherwise be unavailable to the estates. The Agreement is, therefore, well above the

lowest point in the range of reasonableness required under Bankruptcy Rule 9019.

       H.      The Debtors and the PPF Transferees negotiated, proposed, and entered into the

Agreement without collusion, in good faith, and from arm’s-length bargaining positions. In

accordance with Bankruptcy Rule 9019, and the Court having considered the relevant factors

thereunder and whether the settlement falls within a range of reasonableness, including (1) the

balance between the Litigation’s possibility of success and the settlement’s future benefits; (2)

the likelihood of complex and protracted litigation, with its attendant expense, inconvenience,

and delay, including the difficulty in collecting on the judgment; (3) the paramount interests of

the creditors, including each affected class’s relative benefits and the degree to which creditors

either do not object to or affirmatively support the proposed settlement; (4) whether other parties

in interest support the settlement; (5) the competency and experience of counsel supporting, and

the experience and knowledge of the bankruptcy court judge reviewing, the settlement; (6) the

nature and breadth of releases to be obtained by officers and directors; and (7) the extent to

which the settlement is the product of arm's length bargaining, the Court finds the settlement

reasonable, fair, reached by each party in good faith and as a product of arm’s length bargaining,



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in the interests of the estates and all parties, and should be approved as set forth in the

Agreement.

       I.      The PPF Transferees are not “insiders” or “affiliates” of the Debtors as those

terms are defined in §§ 101(31) and 101(2) of the Bankruptcy Code.

       J.      Neither the Debtors nor the PPF Transferees have engaged in any conduct that

would cause or permit the Agreement to be avoided under § 363(n) of the Bankruptcy Code. As

alleged in more detail in the Agreement, the parties have filed lawsuits against other in state

court in Texas and in an adversary proceeding in this Court, and have denied each other’s claims

and asserted counterclaims and defenses. The PPF Transferees have proceeded in good faith in

all respects in that: (i) the Agreement was negotiated and entered into in good faith, based upon

arm’s length negotiations between them and the Debtors, and without collusion; (ii) the PPF

Transferees have not violated section 363(n) of the Bankruptcy Code by any action or inaction;

and (iii) the negotiation and execution of the Agreement and any other agreements or instruments

related thereto were in good faith. The PPF Transferees are buyers in good faith, as that term is

used in the Bankruptcy Code, and are entitled to the protections of Bankruptcy Code sections

363(m) and 363(n) with respect to the Properties.

       K.      The PPF Transferees have not violated Section 363(n) of the Bankruptcy Code by

any action or inaction or engaged in any conduct that would cause or permit the Agreement or

the Sale to be avoided pursuant thereto. Specifically, the PPF Transferees have not acted in a

collusive manner with any person and the consideration was not controlled by any agreement

among bidders.

       L.      The Debtors have demonstrated compelling circumstances for the Sale outside:

(i) the ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code; and (ii) a



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plan of reorganization or liquidation, pursuant to section 1129 of the Bankruptcy Code, in that,

among other things, the immediate consummation of the Sale to the PPF Transferees is necessary

and appropriate to realize the value of the Debtors’ estates and the Sale and the Agreement

related thereto will provide the only means for the Debtors to maximize distributions to the

Debtors’ creditors. Time is of the essence in consummating the Sale and the Agreement.

       M.      The PPF Transferees are not mere continuations of the Debtors or their estates,

and there is no continuity of enterprise between the PPF Transferees and the Debtors. The PPF

Transferees are not successors to the Debtors or their estates and the Sale does not amount to a

consolidation, merger, or de facto merger of the PPF Transferees and the Debtors. The PPF

Transferees will not have any successor or transferee liability for liabilities of the Debtors or any

affiliate of the Debtors or any other settling party (whether under federal or state law or

otherwise) as a result of the sale of the Properties.

       N.      The consummation of the Sale of the Properties to the PPF Transferees is legal,

valid, and properly authorized under all applicable provisions of the Bankruptcy Code, including,

without limitation, sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, and all of the

applicable requirements of such sections have been complied with in respect of the Sale. In

particular, the Debtors may sell the Properties free and clear of all liens, claims, or encumbrances

of any kind or nature whatsoever because, in each case, one or more of the standards set forth in

section 363(f)(l)-(5) of the Bankruptcy Code have been satisfied. Any party with an interest in

the Properties who did not object, or who withdrew its objection, to the Sale is deemed to have

consented pursuant to section 363(f)(2) of the Bankruptcy Code. Any party with a lien, claim, or

other interest in the Properties who did object falls within one or more of the other subsections of

section 363(f) of the Bankruptcy Code and is adequately protected by having its lien, claim, or



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other interest, if any, attach to the net cash proceeds of the Sale ultimately attributable to the

respective Property against or in which such liens or other interests are asserted with the same

validity, enforceability, priority, and force and effect as they had against the Property or its

proceeds as of the Petition Date.

           O.   Pursuant to sections 105(a) and 363 of the Bankruptcy Code and effective as of

the closing of the sale and/or assignment of the Properties to the PPF Transferees (the

“Closing”), all Persons (as defined in section 101(41) of the Bankruptcy Code) are hereby

enjoined from taking any action against the PPF Transferees or their affiliates (as they exist

immediately prior to Closing) to recover or enforce any interests that such Person(s) may have

against the Properties.

           P.   Pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal shall not affect the validity or the transfer of the Properties to the PPF

Transferees, unless the same is stayed pending appeal prior to the Closing and consummation of

the Sale of the Properties as authorized by this Order.

           Q.   The Sale does not constitute a sub rosa chapter 11 plan. The Sale neither

impermissibly restructures the rights of the Debtors’ creditors nor impermissibly dictates a

liquidating plan of reorganization for the Debtors.

           R.   The PPF Parties allege that the Sale does not involve any executory contracts

because the oil and gas leases, assignments and volumetric production payments are all real

property interests under Texas law. To the extent the mineral interests transferred pursuant to the

Sale are deemed executory contracts, they are expressly assumed by and assigned to the PPF

Parties.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:



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       1.      Any objections to the Motion, as they pertain to the entry of this Order, are

overruled to the extent they have not been withdrawn, waived or otherwise resolved.

       2.      The Debtors are hereby authorized to take any and all actions necessary to

consummate the transactions contemplated by the Agreement (including any ancillary

documents), a copy of which is attached hereto as Exhibit 1, and this Order.

       3.      Closing of the Sale shall take place, pursuant to the Agreement, immediately after

the expiration of the fourteen day appeal period following entry of this Order. Upon Closing, in

full and final settlement, satisfaction and discharge of any and all claims of the Debtors against

the PPF Parties related to the VPP Transactions or the Properties, the PPF Parties shall pay

FOUR HUNDRED SEVENTY-FIVE THOUSAND and 00/100 DOLLARS ($ 475,000.00) (the

“Settlement Payment”) directly to the Debtors, in cash, by wire transfer of immediately available

funds on the date of the Closing, as set forth in the Agreement. If, for any reason, the PPF

Parties fail to pay the Settlement Payment to the Debtors upon the Closing of the Settlement,

then the releases provided by GS Energy, LLC; Ponderosa Energy, LLC; Richard F. Sands; and

Casimir Capital L.P. (the “Ponderosa Parties”) in the Agreement shall be null and void and shall

be of no force and effect.

       4.      Immediately upon expiration of the fourteen day appeal period following entry of

this Order, the Debtors and the PPF Parties shall promptly take any and all action necessary to

dismiss the lawsuit in the 160th Judicial District Court of Dallas County, Texas, Cause No. DC-

17-04608 (“Dallas Lawsuit”), the lawsuit in the 84th Judicial District Court of Hutchinson

County, Texas, Cause No. 42908 (“Hutchinson Lawsuit”), and the adversary proceeding in this

Court, Adversary No. 17-01239-SHL (the “Adversary Proceeding”) (collectively, the

“Litigation”), with prejudice.



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       5.      The terms of this Order shall be binding on and inure to the benefit of the

Debtors, the PPF Transferees, all creditors and all other parties-in-interest, and any assigns or

successors of such parties.

       6.      Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

of this Order shall be immediately effective and enforceable upon its entry and not subject to any

stay, notwithstanding the possible applicability of Bankruptcy Rules 6004(h) or otherwise.

       7.      To the extent that this Order is inconsistent with the Agreement, the terms of this

Order shall govern.

       8.      The failure to include specifically any particular provision of the Agreement in

this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court that the Agreement be authorized and approved in its entirety.

       9.      As and when requested by any party, each party shall execute and deliver, or

cause to be executed and delivered, all such documents and instruments, and shall take, or cause

to be taken, all such further and other actions as such other party may reasonably deem necessary

or desirable to consummate the Sale and the Agreement.

       10.     The Ponderosa Parties and the PPF Parties are each hereby authorized and

directed to perform in accordance with the terms of the Agreement.

       11.     Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the

Debtors are authorized and directed to sell and transfer all of the Debtors’ right, title and interest

in and to the Properties to the PPF Transferees in accordance with the Agreement (including any

ancillary documents), and such sale and transfer shall (a) constitute a legal, valid, binding, and

effective transfers of the Properties, (b) upon the Debtors’ receipt of the respective purchase

prices, vest the PPF Transferees with all right, title, and interest of the Debtors to the Properties,



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free and clear of all liens, claims, and other interests in and on the Properties pursuant to § 363(f)

of the Bankruptcy Code, and (c) constitute transfers for reasonably equivalent value and fair

consideration under the Bankruptcy Code and the laws of the state(s) in which PPF Transferees

are incorporated and any other applicable non-bankruptcy laws.

       12.     Except as otherwise provided in the Agreement, all persons holding liens or

claims of any kind or nature whatsoever against the Debtors or the Properties shall be and hereby

forever are barred, estopped, and permanently enjoined from asserting, prosecuting,

commencing, continuing, or otherwise pursuing in any manner any action, claim, or other

proceeding of any kind, directly or indirectly, against the PPF Transferees, any affiliates of the

PPF Transferees (as they existed immediately prior to the Closing of the Sale) or the Properties,

including any action, claim, or other proceeding seeking to prevent or interfere with the

consummation of the Sale, with the retrieval by the PPF Transferees or the delivery to the PPF

Transferees of possession of the Properties by the PPF Transferees. Following the applicable

Closing dates, no holder of a lien, claim or other interest in or against the Debtors or the

Properties shall interfere with the PPF Transferees’ title to or use and enjoyment of the

Properties based on or related to such lien, claim, or other interest.

       13.     Pursuant to sections 105(a) and 363 of the Bankruptcy Code and effective as of

the Closing of the Sale and/or assignment of the Properties to the PPF Transferees, all Persons

(as defined in section 101(41) of the Bankruptcy Code) are hereby enjoined from taking any

action against the PPF Transferees or their affiliates (as they exist immediately prior to Closing)

to recover or enforce any interests that such Person(s) may have against the Properties.

       14.     Pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal shall not affect the validity or the transfer of the Properties to the PPF



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Transferees, unless the same is stayed pending appeal prior to the Closing and consummation of

the Sale of the Properties as authorized by this Order.

        15.     Obligations of the Debtors relating to taxes, whether arising under law, by the

Agreement, or otherwise, shall be fulfilled by the party responsible for such obligations under the

Agreement.

        16.     The PPF Transferees shall not have any successor or transferee liability for

liabilities of the Debtors or any affiliate of the Debtors (whether under law or otherwise) as a

result of the sale of the Properties.

        17.     Sale Free and Clear. The sale of the Properties shall be free and clear of all liens,

claims, encumbrances and other interests, with all such liens, claims, encumbrances or other

interests in or on the Properties to attach to the net cash proceeds of the Sale ultimately

attributable to the Property against or in which such liens or other interests are asserted, subject

to the terms of such liens or other interests, with the same validity, enforceability, priority, and

force and effect as they had against the Property or its proceeds as of the Petition Date, subject to

any rights, claims and defenses any parties-in-interest may possess with respect thereto.

        18.     No broker or party has a claim to any commission, broker’s fee, finder’s fee, or

similar fee as a result of having negotiated the Agreement for, or on behalf of, the Debtors or the

PPF Transferees.

        19.     A certified copy of this Order may be filed with the appropriate clerk and/or

recorded with the recorder of any state, county, or local authority to act to cancel any of the liens

or claims of record.

        20.     This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding any provision in the Bankruptcy Code or the Bankruptcy Rules to the contrary,



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the Court expressly finds there is no reason for delay in the implementation of this Order and,

accordingly: (i) the terms of this Order shall be immediately effective and enforceable upon its

entry; (ii) the Debtors are not subject to any stay in the implementation, enforcement or

realization of the relief granted in this Order; and (iii) the Debtors may, in their discretion and

without further delay, take any action and perform any act authorized under this Order.

       21.     The provisions of this Order are non-severable and mutually dependent.

       22.     Third parties, including recording and title agencies, shall recognize the transfers

pursuant to this Order and shall not interfere with the transactions set forth herein.

       23.     The Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this Order, the Agreement, all amendments thereto, and

any waivers and consents thereunder, and each ancillary document executed in connection

therewith to which the Debtors are a party, and to adjudicate, if necessary, any and all disputes

concerning or relating in any way to the Sale, including, but not limited to, retaining jurisdiction

to (a) compel delivery of the Properties to the PPF Transferees, (b) interpret, implement, and

enforce the provisions of this Order, and (c) protect the PPF Transferees against any liens or

claims in or against the Debtors or the Properties of any kind or nature whatsoever; provided,

however, that in the event the Court abstains from exercising or declines to exercise jurisdiction

or is without jurisdiction, such abstention, refusal or lack of jurisdiction shall have no effect upon

and shall not control, prohibit or limit the exercise of jurisdiction of any other court having

competent jurisdiction with respect to any such matter.

       24.     In accordance with Bankruptcy Rule 9019, and the Court having considered the

relevant factors thereunder, the Agreement and the terms and conditions set forth therein and in




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this Order are reasonable, fair, in the interests of the estates and all parties, and fall within the

range of reasonableness, and hereby are approved.


Dated: ________________, 2018

                                              UNITED STATES BANKRUPTCY JUDGE




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                                           EXHIBIT H

                               AGREED MOTIONS TO DISMISS


                                           Exhibit H-1
                                Motion to Dismiss Dallas Lawsuit


                                    CAUSE NO. DC-17-04608


PETROLEUM PRODUCTION                          §       IN THE DISTRICT COURT
FINANCE, INC., PPF 2 LLC AND PPF 3            §
LLC,                                          §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §       160TH JUDICIAL DISTRICT
                                              §
GS ENERGY, LLC, PONDEROSA                     §
ENERGY, LLC, RICHARD SANDS AND                §
CASIMIR CAPITAL L.P.,                         §
                                              §
       Defendants.                            §       OF DALLAS COUNTY, TEXAS

                      AGREED MOTION TO DISMISS WITH PREJUDICE

       Plaintiffs Petroleum Production Finance, Inc., PPF 2 LLC and PPF 3 LLC, and

Defendants GS Energy, LLC, Ponderosa Energy, LLC, Richard Sands, and Casimir Capital, L.P.

(collectively, the “Parties”) jointly request that this lawsuit be dismissed with prejudice. The

Parties have finalized a settlement agreement that resolves all matters in controversy in this case.

       The Parties accordingly request that this Court enter the proposed Order of Dismissal

tendered herewith.




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Dated: ____________, 2018                   Respectfully submitted,

                                            JACKSON WALKER L.L.P.

                                         By: ____________________________
                                            Brian A. Kilpatrick
                                            Texas State Bar No. 00784392
                                            2323 Ross Ave., Ste. 600
                                            Dallas, Texas 201
                                            Telephone:     (214) 953-6000
                                            Facsimile:     (214) 953-5822
                                            Email: bkilpatrick@jw.com

                                            Attorneys for Plaintiffs

                                            -and-

                                            MITCHELL & JONES

                                         By: ____________________________
                                            Leon Mitchell
                                            Texas State Bar No. ______
                                            P.O. Drawer 707
                                            Borger, TX 79008-0707
                                            Telephone:     (806) 273-2857
                                            Facsimile:     (806) 273-2157
                                            Email: sterlingmitchell807@gmail.com

                                            Attorneys for Defendants




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                                    CAUSE NO. DC-17-04608


PETROLEUM PRODUCTION                        §      IN THE DISTRICT COURT
FINANCE, INC., PPF 2 LLC AND PPF 3          §
LLC,                                        §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §      160TH JUDICIAL DISTRICT
                                            §
GS ENERGY, LLC, PONDEROSA                   §
ENERGY, LLC, RICHARD SANDS AND              §
CASIMIR CAPITAL L.P.,                       §
                                            §
       Defendants.                          §      OF DALLAS COUNTY, TEXAS


                                    ORDER OF DISMISSAL


       On this day, the Court considered the Agreed Motion to Dismiss (the “Motion”) filed

jointly by Plaintiffs Petroleum Production Finance, Inc., PPF 2 LLC and PPF 3 LLC, and

Defendants GS Energy, LLC, Ponderosa Energy, LLC, Richard Sands, and Casimir Capital, L.P.

(collectively, the “Parties”), in which those Parties announced to the Court that all matters in

controversy in this case have been settled and fully compromised.



       Upon consideration of the Motion, the Court is of the opinion that the Motion should be

GRANTED. Accordingly, it is therefore:



       ORDERED that all claims, counterclaims, demands, or causes of action that have been

asserted herein by the above-referenced Parties are hereby DISMISSED WITH PREJUDICE;



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       IT IS FURTHER ORDERED that all fees, costs, and expenses shall be paid by the

Party incurring them.

       SO ORDERED.


SIGNED this ___day of _______________, 2018.



                                               _____________________________
                                               JUDGE PRESIDING




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                                           Exhibit H-2
                              Motion to Dismiss Hutchinson Lawsuit


                                        CAUSE NO. 42908


GS ENERGY, LLC AND PONDEROSA                  §       IN THE DISTRICT COURT
ENERGY, LLC,                                  §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §
                                              §       84TH JUDICIAL DISTRICT
PETROLEUM PRODUCTION                          §
FINANCE, INC., PPF 2 LLC, PPF 3 LLC,          §
AND JOHN HOLDEN, SUBSTITUTE                   §
TRUSTEE,                                      §
                                              §
       Defendants.                            §       OF HUTCHINSON COUNTY, TEXAS

                      AGREED MOTION TO DISMISS WITH PREJUDICE

       Plaintiffs GS Energy, LLC and Ponderosa Energy, LLC, and Defendants Petroleum

Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, and John Holden, Substitute Trustee

(collectively, the “Parties”) jointly request that this lawsuit be dismissed with prejudice. The

Parties have finalized a settlement agreement that resolves all matters in controversy in this case.

       The Parties accordingly request that this Court enter the proposed Order of Dismissal

tendered herewith.

Dated: ____________, 2018                             Respectfully submitted,

                                                      MITCHELL & JONES

                                                  By: ____________________________
                                                     Leon Mitchell
                                                     Texas State Bar No. ______
                                                     P.O. Drawer 707
                                                     Borger, TX 79008-0707
                                                     Telephone:    (806) 273-2857
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                                            Facsimile:     (806) 273-2157
                                            Email: sterlingmitchell807@gmail.com

                                            Attorneys for Plaintiffs

                                            -and-

                                            JACKSON WALKER L.L.P.

                                         By: ____________________________
                                            Brian A. Kilpatrick
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                                            2323 Ross Ave., Ste. 600
                                            Dallas, Texas 201
                                            Telephone:     (214) 953-6000
                                            Facsimile:     (214) 953-5822
                                            Email: bkilpatrick@jw.com

                                            Attorneys for Defendants




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                                       CAUSE NO. 42908


GS ENERGY, LLC AND PONDEROSA                §      IN THE DISTRICT COURT
ENERGY, LLC,                                §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §
                                            §      84TH JUDICIAL DISTRICT
PETROLEUM PRODUCTION                        §
FINANCE, INC., PPF 2 LLC, PPF 3 LLC,        §
AND JOHN HOLDEN, SUBSTITUTE                 §
TRUSTEE,                                    §
                                            §
       Defendants.                          §      OF HUTCHINSON COUNTY, TEXAS


                                    ORDER OF DISMISSAL


       On this day, the Court considered the Agreed Motion to Dismiss (the “Motion”) filed

jointly by Plaintiffs GS Energy, LLC and Ponderosa Energy, LLC, and Defendants Petroleum

Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, and John Holden, Substitute Trustee

(collectively, the “Parties”), in which those Parties announced to the Court that all matters in

controversy in this case have been settled and fully compromised.



       Upon consideration of the Motion, the Court is of the opinion that the Motion should be

GRANTED. Accordingly, it is therefore:



       ORDERED that all claims, counterclaims, demands, or causes of action that have been

asserted herein by the above-referenced Parties are hereby DISMISSED WITH PREJUDICE;



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       IT IS FURTHER ORDERED that all fees, costs, and expenses shall be paid by the

Party incurring them.

       SO ORDERED.


SIGNED this ___day of _______________, 2018.



                                               _____________________________
                                               JUDGE PRESIDING




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                                                  Exhibit H-3
                                Motion to Dismiss Adversary Proceeding

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re:

        PONDEROSA ENERGY, LLC and                                    Chapter 11
        GS ENERGY, LLC28                                             Case No. 17-13484-SHL
                                                                     (Jointly Administered)
                                             Debtors.
----------------------------------------------------------x
GS ENERGY LLC, and
PONDEROSA ENERGY LLC,                                                 Adv. Pro. No. 17-01239-SHL

                                            Plaintiffs,

        -v-

PPF 2 LLC, PPF 3 LLC, PETROLEUM
PRODUCTION FINANCE, INC., DAVIS
BROTHERS FINANCIAL GROUP, INC.,
DAVIS MARTIN, ROBERT TRESSLER,
PETER TRESSLER, JOHN LANE, JAMES
LANSHE, OPPENHEIMER RESOURCES
SICAV-SIF, SELECTRA MANAGEMENT
COMPANY, S.A.,
                                             Defendants.
----------------------------------------------------------x

                      AGREED MOTION TO DISMISS WITH PREJUDICE

        Plaintiffs GS Energy, LLC and Ponderosa Energy, LLC, and Defendants Petroleum

Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, Davis Brothers Financial Group, Inc., Davis

Martin, Robert Tresslar, Peter Tresslar, John Lane, James Lanshe, Oppenheimer Resources

SICAV-SIF, Selectra Management Company, S.A., (collectively, the “Parties”) jointly request



28
        The last four digits of each Debtor’s federal tax identification number are: Ponderosa Energy, LLC (6262)
        and GS Energy, LLC (3426).
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that this lawsuit be dismissed with prejudice. The Parties have finalized a settlement agreement

that resolves all matters in controversy in this case.

       The Parties accordingly request that this Court enter the proposed Order of Dismissal

tendered herewith.

Dated: ____________, 2018                                Respectfully submitted,

                                                         DIAMOND McCARTHY LLP

                                                   By: ____________________________
                                                      Allan B. Diamond
                                                      489 Fifth Avenue, 21st Floor
                                                      New York, NY 10017
                                                      Tel: (212) 430-5400
                                                      Fax: (212430-5499

                                                         Christopher R. Murray, Esq.
                                                         Charles M. Rubio, Esq.
                                                         909 Fannin Street, 37th Floor
                                                         Houston, Texas 77010
                                                         Tel: (713) 333-5100
                                                         Fax: (713) 333-5199

                                                         Attorneys for Plaintiffs

                                                         -and-

                                                         ARCHER & GREINER, P.C.

                                                   By: ____________________________
                                                      Allen G. Kadish
                                                      Harrison H.D. Breakstone
                                                      630 Third Avenue
                                                      New York, New York 10017
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                                                      Facsimile:    (212) 682-4942
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                                                             hbreakstone@archerlaw.com

                                                         JACKSON WALKER LLP

                                                         Michael S. Held
                                                         Brian A. Kilpatrick
EXHIBIT H - SETTLEMENT AGREEMENT                                                         Page 10 of 13
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                                                    bkilpatrick@jw.com

                                            Attorneys for Defendants




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re:

        PONDEROSA ENERGY, LLC and                                    Chapter 11
        GS ENERGY, LLC29                                             Case No. 17-13484-SHL
                                                                     (Jointly Administered)
                                             Debtors.
----------------------------------------------------------x
GS ENERGY LLC, and
PONDEROSA ENERGY LLC,                                                 Adv. Pro. No. 17-01239-SHL

                                            Plaintiffs,

        -v-

PPF 2 LLC, PPF 3 LLC, PETROLEUM
PRODUCTION FINANCE, INC., DAVIS
BROTHERS FINANCIAL GROUP, INC.,
DAVIS MARTIN, ROBERT TRESSLER,
PETER TRESSLER, JOHN LANE, JAMES
LANSHE, OPPENHEIMER RESOURCES
SICAV-SIF, SELECTRA MANAGEMENT
COMPANY, S.A.,
                                             Defendants.
----------------------------------------------------------x

                                         ORDER OF DISMISSAL

                 On this day, the Court considered the Agreed Motion to Dismiss (the “Motion”)

filed jointly by Plaintiffs GS Energy, LLC and Ponderosa Energy, LLC, and Defendants

Petroleum Production Finance, Inc., PPF 2 LLC, PPF 3 LLC, Davis Brothers Financial Group,

Inc., Davis Martin, Robert Tresslar, Peter Tresslar, John Lane, James Lanshe, Oppenheimer

Resources SICAV-SIF, Selectra Management Company, S.A., (collectively, the “Parties”), in

which those Parties announced to the Court that all matters in controversy in this case have been

settled and fully compromised.

29
        The last four digits of each Debtor’s federal tax identification number are: Ponderosa Energy, LLC (6262)
        and GS Energy, LLC (3426).
EXHIBIT H - SETTLEMENT AGREEMENT                                                                    Page 12 of 13
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       Upon consideration of the Motion, the Court is of the opinion that the Motion should be

GRANTED. Accordingly, it is therefore:

       ORDERED that all claims, counterclaims, demands, or causes of action that have been

asserted herein by the above-referenced Parties are hereby DISMISSED WITH PREJUDICE;

       IT IS FURTHER ORDERED that all fees, costs, and expenses shall be paid by the Party

incurring them.

       SO ORDERED.

New York, New York
Dated: ________________, 2018



                                            ____________________________________
                                            UNITED STATES BANKRUPTCY JUDGE




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